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 1                         UNITED STATES DISTRICT COURT

 2         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 3                   HONORABLE R. GARY KLAUSNER, U.S. DISTRICT JUDGE

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 5
           CARL ZEISS AG, et al.,           )
 6                                          )
                    Plaintiffs,             )
 7                                          )
                         vs.                )
 8                                          )        2:17-CV-7083-RGK
           Nikon Corporation, et al.,       )
 9                                          )
                    Defendants              )
10         _________________________________)

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                         REPORTER'S TRANSCRIPT OF PROCEEDINGS
13
                                        PM SESSION
14
                                Los Angeles, California
15
                                Friday, December 7, 2018
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 1                   THE COURT:    Okay.   The record will reflect that all

 2         the members of the jury are in their respective seats in the

 3         jury box, the witness is on the witness stand, and we are in

 4         direct examination.

 5                   You may continue, Counsel.

 6                   MR. MARCHESE:    Thank you, Your Honor.

 7          Q. Dr. Mundy, do each of the 43 Nikon cameras that you

 8         analyzed perform the function of identifying a plurality of

 9         image regions of said target image that have a likelihood of

10         containing said target image pattern?

11          A. They do.

12          Q. Prior to the break, as we were looking at PDX475, did you

13         find that that particular function was performed according to

14         the code for OKAO at 1623A, 89 to 91, for parfait at 1623B,

15         80 to 84, and for pine at 1623C, 143 to 144?

16          A. I did.

17          Q. Okay.    Let's talk now about the structure.       What

18         specifically in the pine and the parfait and the OKAO did you

19         find that has or satisfies the linear matched filter

20         structure that performs the function you just discussed?

21          A. Well, as I've already explained, evaluating whether or

22         not the input image region has light intensities where the

23         white rectangles are, and dark intensities where the black

24         rectangles are, that is called matching.        So that is the

25         "match" part of linear match filter.       And then "filter" just




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 1         means that we do some computation, and we get a result based

 2         on the input image, and our representation of the pattern.

 3         So that is matched filter.

 4                   And then the "linear" part is what I showed before,

 5         where we are subtracting the dark intensities from the light

 6         ones, and getting that difference.       So the subtraction is

 7         forming the "linear" part of the linear matched filter.

 8          Q. And Dr. Mundy, you've got on here for OKAO, parfait, and

 9         pine, it looks like some math.      Can you explain that, please?

10          A. There is some small differences between the different

11         implementations in how the subtraction is done.

12                   In OKAO, they added another minus one, to give them

13         a little tolerance against noise.       Like if the intensities

14         are very near -- the difference is very near zero, it gives a

15         little more noise immunity.      And parfait, it's just the

16         direct subtraction.     And in pine, it's accomplished by a

17         comparison operation, which then internally in the computer

18         hardware does a subtraction in order to do the comparison.

19                   If you are going to compare two numbers, you first

20         subtract them, and then test to see if the difference is

21         greater or less than zero.      That is how a comparison is done.

22         So those are the differences I saw.

23          Q. Thank you, Dr. Mundy.      So did you find the linear match

24         filter in those same code citations that I just identified

25         with respect to PDX475?




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 1          A. I did.

 2          Q. All right.    Well, we can't check off the box just yet for

 3         first filtering means, because we have a little bit more to

 4         do for that claim element, as we see in green.

 5          A. That's right.

 6          Q. But let's move on to claim 16 right now.        And you've

 7         stated earlier that claim 16 further defines the first

 8         filtering means.    Did you find the requirements of claim 16

 9         present in the 43 Nikon cameras?

10          A. I did.

11          Q. All right.    So turning to this next slide, PDX478, did

12         you break claim 16 into two separate requirements, as we've

13         labeled here A and B, to make it easier to follow along?

14          A. Yes, I did.

15          Q. I'm going to read requirement A into the record.         "The

16         filtering means includes a linear matched filter configured

17         to perform a linear convolution operation on said input image

18         with a convolution kernel."

19                   What was your analysis of requirement A for the

20         Nikon cameras with OKAO, parfait, and pine?

21          A. Okay.    So we already have done the first part of A;

22         namely, we've identified a linear match filter, as I just

23         explained.    The second part is it's configured to perform a

24         linear convolution operation on said input image with a

25         convolution kernel.     And the convolution kernel, we have also




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 1         talked about.    That is just this two-dimensional array that

 2         you see on the left, which has numbers in it of plus one,

 3         minus one, and zero.     That is called a kernel, in sort of

 4         more mathematical terms.

 5                    And because we are just doing it just in a

 6         subtraction, we are performing a linear convolution

 7         operation.     So we've satisfied everything in the A part.

 8          Q. So did you find the code for this A part, requirement A

 9         of claim 16, at the same code cites we identified with

10         respect to PDX475?

11          A. I did.

12          Q. All right.    Well, let's move on, then, to part B,

13         requirement B of claim 16.      This states that the convolution

14         kernel is a numerical representation of the reference image

15         pattern, and that the reference image pattern is

16         representative of a human face.

17                    What was your analysis of this requirement for the

18         Nikon cameras that have OKAO, parfait, and pine?

19          A. Well, we just talked about the convolution kernel, which

20         you see down below.     That is actually an actual kernel from

21         pine.   And then we can see that it's a numerical

22         representation, because the kernel consists only of three

23         numbers:     plus one, minus one, and zero.     So it's definitely

24         a numerical representation.

25                    And we've already pointed out how this is a pattern




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 1         that is representative of a human face, because I showed how

 2         it matches the example that I used in my earlier discussion.

 3         And the reference image pattern in this case is actually a

 4         pattern that can detect a face, so we have satisfied

 5         everything in B.

 6          Q. So, Dr. Mundy, did you find the code that performs this

 7         part of requirement B of claim 16 at the same page cites for

 8         the exhibits we just provided with respect to PDX475?

 9          A. I did.

10          Q. All right.    So we just got through claim 16, but we

11         haven't checked it off yet.       And why is that?

12          A. Well, 16 depends on 15, so we have really got to go

13         through all of 15 and satisfy every element that is in 15.

14          Q. All right.    Well, then, we are almost there with the

15         first filtering means.     So let's look at the last part of

16         that element.    It's in green.     And it states, "The first

17         filtering means is configured to correlate said input image

18         with a reference image pattern to select said image regions,

19         said reference image pattern being indicative of said target

20         image pattern."

21                   Did you find that requirement present in all of the

22         cameras running OKAO, parfait, and pine?

23          A. I did.

24          Q. All right.    What was your analysis of this last

25         requirement of the first filtering means?        And this is shown




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 1         here.   We are looking at PDX481.

 2          A. Well, if you recall, when I was explaining how the Nikon

 3         implementations work, we are -- after we've done our linear

 4         operation of subtraction, we are going to assign a

 5         quantization number, a value to the result, whether it

 6         matched or didn't match.

 7                   And we are going to assign a zero if there were no

 8         problems in the match, and a one if there are -- if there is.

 9         And then we are going to take those ones and zeros and make

10         them an address of a lookup table, as I explained before.

11         And then the output of that lookup table is a confidence

12         value that we are going to compare to a threshold.         And that

13         is where the "select" part comes in.

14                   So if the image pattern that we see there is likely

15         to be a face, then we are going to know that because the

16         confidence value is above the threshold.

17          Q. And, Dr. Mundy, did you find the code for OKAO that

18         performs this part of claim -- I'm sorry, for the first

19         filtering means at pages 85 to 88 of Exhibit 1623A?

20          A. I did.

21          Q. And did you find the code for parfait and pine that

22         performs this part of the first filtering means at the same

23         code cites we provided with respect to PDX475?

24          A. I did.

25          Q. Now, before we move on, if the element of this particular




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 1         claim, the first filtering means, is not interpreted as

 2         needing a particular function and structure, in other words,

 3         it's not means plus function, is the first filtering claim

 4         element still met, first filtering means?

 5          A. It is still met.

 6          Q. That is the case even if it's not interpreted as means

 7         plus function; is that correct?

 8          A. That's correct.

 9          Q. That is because why?

10          A. Well, we achieved the function required for the first

11         filtering means, and now we have considerably more latitude

12         in the structures that might be able to perform that

13         function.

14          Q. And as you've described, we found those structures -- we

15         found structure in OKAO, pine, and parfait that perform the

16         entire function -- all the stuff that is required by the

17         first filtering means, correct?

18          A. We did, yes.

19          Q. Okay.    Excuse me, I checked.     Went too fast.

20                    Can we now check off the first filtering means?

21          A. Yes.     We have satisfied everything in that claim element.

22          Q. All right.    Let's turn to the second filtering means.

23         Did you find that element present in all the cameras that

24         have OKAO, parfait, and pine face detection technology?

25          A. I did.




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 1           Q. And are you going to address the second filtering means

 2         in three parts?

 3           A. Yes, I will.

 4           Q. All right.    Let's look at the first part.      I've got it

 5         underlined here.     It's in blue for the color coding.       But

 6         I've underlined the first part, and I wanted to ask you about

 7         that.   This element requires that the second filtering means

 8         be operatively coupled to, and operatively following, the

 9         first filtering means.      Is that requirement met?

10           A. Yes, it is.

11           Q. And how is that met with respect to OKAO?

12           A. Let me take it a little bit at a time.       The easier one is

13         the operatively following the first filtering means.          All

14         that means is the -- that we can't operate until we have the

15         regions produced by the first filtering means.         Remember, we

16         down selected those regions into just a few.         So obviously

17         they come before we can do any fine filtering.

18                    So that is what "operatively following" means.        It

19         just means we have to have the stuff from the first filtering

20         means in order to do the second filtering means.

21                    And then the "operatively coupled to" part means

22         there actually has to be data passed between the two.          And

23         that is done by the yellow boxes that you see there on your

24         screen.    Those are computer data structures that contain the

25         information about the regions that is passed between the two.




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 1         And so we have now satisfied that underlined stuff.

 2           Q. Did you find the code in OKAO that satisfies this portion

 3         of the second filtering means in 1623A, Exhibit 1623A, at

 4         page 109?

 5           A. I did.

 6           Q. And how is this requirement met in the cameras with pine

 7         and parfait hardware?

 8           A. Well, again, the "operatively following" part is easy,

 9         because the hardware does the same thing.        It passes the

10         regions from the first filter into the second.         So that is

11         done.   But as far as being operatively coupled to, in

12         hardware we don't have these data structures that you see

13         here.   We actually have to store stuff in memory, and then

14         the next stage comes and reads it back out of that memory.

15                    So that is how the "operatively coupled" part works

16         in hardware.

17           Q. Did you find that this claim element was satisfied for

18         pine and parfait at JTX1623B for pine -- I'm sorry, 1623C for

19         pine, at pages 25 to 27, and JTX1623B for parfait, at pages

20         103 to 107?

21           A. I did.

22           Q. All right.    Let's look at the second part of the second

23         filtering means.     It looks like you have broken this up into

24         function and structure.      Did you consider -- let me just ask

25         you this:     If this particular claim element is interpreted as




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 1         a means plus function element, what is the function of the

 2         second filtering means that you identified?

 3           A. Well, that is to screen the image regions to select

 4         candidate regions.     We are winnowing them down now, and we

 5         want those regions to have a high likelihood of containing

 6         the target pattern, which is a face.

 7           Q. And looking at the patent, what structure performs this

 8         function?

 9           A. Well, in looking over the specification, the structure

10         that will perform this function is a nonlinear filter, and

11         anything equivalent to it.

12           Q. Now, as we discussed for the first filtering means, did

13         you also consider that the second filtering means may not be

14         interpreted as means plus function?

15           A. Yes, I did.

16           Q. And what impact does that have on the issue of function

17         and structure for you?

18           A. Well, we are not limited to the structure then being this

19         nonlinear filter, or its equivalence.        We have a broader set

20         of structures that could perform this function.         But still,

21         even under that interpretation, I determined that the Nikon

22         products do satisfy this.

23           Q. All right.    Well, turning to the 43 Nikon cameras that

24         are accused of infringement here, did they perform the

25         function of the second filtering means?




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 1           A. They do.

 2           Q. And just briefly, how do they do that?       Can you remind us

 3         how that is done?

 4           A. Well, we are going to extract what are called some gray

 5         scale characteristics from the input image.         Here we are

 6         trying to determine if the region around the eyes is darker

 7         than the region on the bridge of the nose or the cheek.           So

 8         that is called a gray scale characteristic, the difference in

 9         those intensities.

10                    Then we are going to take that information and pass

11         it through a lookup table and get a confidence value, which

12         will enable us to then perform a nonlinear operation.          That

13         is where the "nonlinear" part of the filter comes in.

14                    We are going to compare that gray scale

15         characteristic to a threshold.       And if the gray scale

16         characteristic is above the threshold, we'll give that region

17         a green checkmark, meaning it's an acceptable face.          If it's

18         below the threshold, then we will say, "Reject," and we'll

19         put a cross over it.

20           Q. And so how is that done with a nonlinear filter?

21           A. The nonlinear filter is going to compare our gray scale

22         characteristic to the threshold.       That is how it's done.

23           Q. And did you find the code that performs this particular

24         function and has this structure for OKAO, parfait, and pine,

25         respectively, at JTX1623A, pages 81 to 85, 1623B, pages 103




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 1         to 108, and 1623C, pages 25 to 31?

 2           A. I did.

 3           Q. All right.    Let's get to the last part of the second

 4         filtering means.     This is the requirement with respect to the

 5         gray scale characteristic.      What was your analysis for this

 6         requirement?

 7           A. Well, in the implementations, we are going to specify

 8         some regions in the input image where we are going to compute

 9         differences in intensity to compute what normally would be

10         called image contrast.      And that is considered to be a gray

11         scale characteristic of the input region.        So we've satisfied

12         the first part of the underlying there, "configured to

13         examine a gray scale characteristic of said image regions."

14                    And then what it says next is that we want to use

15         that gray scale characteristic -- excuse me -- as a

16         determination factor.      In other words, we are going to

17         determine whether or not this region will survive based on

18         that gray scale characteristic, and in so doing, we will

19         select the candidate region.       "Select" just means either we

20         take it or we don't take it.       And so, essentially, we've

21         satisfied everything now.

22           Q. And, Dr. Mundy, did you find the code that satisfies this

23         part of the second filtering mean at the same cites that I

24         just -- that you just provided in your last answer?

25           A. I did.




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 1           Q. Now, if the second filtering means -- excuse me, I just

 2         moved too quickly -- is not treated as a means plus function

 3         element, what is it in the accused cameras that meets the

 4         second filtering means element?

 5           A. Um, it's what I just described.

 6           Q. All right.    Can we now check off the second filtering

 7         means?

 8           A. We can.

 9           Q. Okay.     Let's turn to the last element, the image pattern

10         detector.      Did you find that element present in the OKAO,

11         parfait, and pine cameras?

12           A. I did.

13           Q. All right.    Let's look at the first part of the image

14         pattern detector.      It looks a lot like we saw in the first

15         part of the last claim element.       It requires that it be

16         connected to and operatively following the second filtering

17         means.    And here, I see you are showing some OKAO code that

18         you showed earlier, correct?

19           A. Correct.

20           Q. And did you find that the OKAO software satisfies this

21         part of the image pattern detector element?

22           A. I did.

23           Q. And how so?

24           A. Well, I think we have explained what "following" means.

25         In other words, the face detector is going to follow the




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 1         second filtering means.      In this case, merge face, which is

 2         what is in OKAO to do the face detection, operates after fine

 3         search operates.

 4                    So we take the regions out of fine search, and we

 5         pass them into this purple function.        I'm regretting the

 6         choice of purple now.      But in any case, we pass it in there,

 7         and that is what it means to be operatively following.           Just

 8         means we have to do the first one before we can do the second

 9         one.

10           Q. Did you find that element also met in the hardware pine

11         and parfait?

12           A. I did.

13           Q. And how so?

14           A. In there, the hardware passes signals from fine search

15         over to merge face.     And merge face can't operate until those

16         signals are present.

17           Q. All right.    A little housekeeping here.      Did you find the

18         code for this particular claim element present in OKAO

19         Exhibit JTX1623A, pages 109 to 110 and 129, for parfait,

20         1623B, pages 27 to 32, and pine, 1623C, pages 95 to 99?

21           A. I did.   And I just want to add one more bit.       I didn't

22         really explain "connected to."       In the case of the software,

23         the yellow stuff that you see there is just passing a data

24         structure between two functions that is connected.          In the

25         hardware, it's done, as I explained earlier, by putting the




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 1         information into random access memory that are shared between

 2         the two functions.

 3           Q. Thank you, Dr. Mundy.     I appreciate that.

 4                    Let's move to the last part.      This is, "The image

 5         pattern detector is designed to analyze said candidate region

 6         to verify whether said candidate region contains said target

 7         image pattern."     What did you find in the accused cameras

 8         that satisfies this claim element?

 9           A. Well, we explained how this merge operation functions.

10         It's going to group the image regions that have survived fine

11         search into clusters that -- where the regions lie on top of

12         each other.    Then it's going to look at that cluster and kick

13         out regions that don't belong.       Like, they are too small or

14         they are pointing away from the camera, while all the others

15         are facing the camera.      Those kind of tests.

16                    And then those that survive, we are going to look at

17         their confidence values and adjust their size a little bit.

18         And that is how we achieve the final result we want, which is

19         the yellow rectangles you see at the right.

20           Q. And did you find the code that performs this

21         functionality at the same cites we provided with respect to

22         the prior answers on the cites?

23           A. I did.

24           Q. All right.    So we've gone through all the claim elements.

25         What is your conclusion as to whether the 43 Nikon accused




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 1         cameras are infringing or not?

 2           A. They are.

 3                    MR. MARCHESE:    Thank you.   I pass the witness.

 4                    THE COURT:   Okay.   Cross-examination.

 5                    MR. GALLEGOS:    Your Honor, if I may?

 6                    THE COURT:   Yes.

 7                                  CROSS-EXAMINATION

 8         BY MR. GALLEGOS:

 9           Q. Good afternoon, Dr. Mundy.

10           A. Good afternoon.

11           Q. The accused cameras in this case run human face detection

12         software and/or hardware from Omron Corporation, correct?

13           A. That's true.

14                    MR. GALLEGOS:    If we could put up PDX416.

15           Q. Dr. Mundy, this is a slide you discussed as part of your

16         tutorial of the '163 patent.       Just to be clear, that diagram

17         that appears here in this slide appears nowhere in the '163

18         patent, correct?

19           A. That's true.

20           Q. This diagram was actually taken from a 2006 publication

21         by Omron, correct?

22           A. I believe I stated that, yes.

23           Q. And that is several years after the '163 patent even

24         issued, correct?

25           A. That's true.




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 1           Q. Okay.

 2                     MR. GALLEGOS:   Can we put up JTX1.

 3                     Your Honor, this is in evidence.      It's the '163

 4         patent.

 5                     And please go to claim 16 at column 18.

 6           Q. So I believe you covered this, Dr. Mundy.        You see that

 7         claim 16 begins, "The system of claim 15 wherein"?

 8           A. I see that.

 9           Q. So claim 16 is a dependent claim?

10           A. Yes.

11           Q. So it includes all of the limitations of independent

12         claim 15, right?

13           A. That's true.

14           Q. Now, let's go to claim 15, please.       And do you see that

15         claim 15 requires a first filtering means?

16           A. Yes, I see that.

17           Q. And do you see that it says claim 15 also requires a

18         second filtering means?

19           A. Yes.

20           Q. And the second filtering means is operatively coupled to

21         and operatively following said first filtering means,

22         correct?

23           A. Correct.

24           Q. The structures of the second filtering means are

25         different from the structures of the first filtering means,




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 1         correct?

 2           A. Yes.

 3           Q. And in your opinion, if the first filtering means is a

 4         means plus function element, the proper structure for the

 5         first filtering means is a linear matched filter, correct?

 6           A. Um, it's -- that is the structure for the first part of

 7         the claim that says, "configured for identifying a plurality

 8         of image regions of said input image that have a likelihood

 9         of containing the target image pattern."

10           Q. But you don't disagree with me, right?       In your opinion,

11         if the first filtering means is a means plus function

12         element, the proper structure is a linear matched filter,

13         right?

14           A. No.     I don't agree with that.

15           Q. You don't agree or you don't disagree?

16           A. I -- well, I can't remember which way you phrased the

17         question, but the structure identified is only dealing with

18         the function I just read.

19           Q. Okay.     So I want to make sure the record is clear, so we

20         are not talking past each other.

21           A. Okay.

22           Q. Focusing on the first filtering means.

23           A. Yes.

24           Q. If that is a means plus function element, the proper

25         structure that you've identified for the first filtering




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 1         means is a linear matched filter, correct?

 2           A. Um, the function that I identified is only the first

 3         clause there, and the structure identified is something that

 4         can perform just that function.

 5           Q. Dr. Mundy, you had your deposition taken in this case,

 6         right?

 7           A. Yes.

 8           Q. And this was a couple of months ago.       You and I sat in a

 9         conference room, and I asked you questions.         Do you recall

10         that?

11           A. Yes.

12           Q. There was a court reporter there, right?

13           A. Yes.

14           Q. And you raised your right hand and you swore to tell the

15         truth under penalty of perjury, correct?

16           A. I did.

17           Q. And you did tell the truth?

18           A. I did.

19           Q. And you understood that your answers could be used

20         against you in court, right?

21           A. Yes.

22                     MR. GALLEGOS:   Your Honor, I would like to put up an

23         excerpt from Dr. Mundy's deposition at page 31, line 21,

24         through page 32, line 8.

25                     MR. MARCHESE:   Can you say that again?     I'm sorry.




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 1                    MR. GALLEGOS:    Page 31, line 21, through page 32,

 2         line 8.

 3                    MR. MARCHESE:    It's in the middle of a question it

 4         starts.

 5                    MR. GALLEGOS:    That's about right.     That's right.

 6                    MR. MARCHESE:    It ends where?

 7                    MR. GALLEGOS:    At page 32, line 8.

 8                    MR. MARCHESE:    Okay.

 9                    THE COURT:   Okay.   You may read it.

10                    (Thereupon, the video was played.)

11                    MR. GALLEGOS:    And, Your Honor, I would like to have

12         that clip designated JTX2228.

13                    THE COURT:   Yes.

14           Q. So Dr. Mundy, similarly, if the first filtering means is

15         a means plus function -- I'm sorry, if the second filtering

16         means is a means plus function element, the proper structure

17         for the second filtering means is a nonlinear matched filter,

18         correct?

19           A. I'm sorry, could you repeat the first part of that?         I

20         didn't quite get it.

21           Q. Sure, Dr. Mundy.      In your opinion, if the second

22         filtering means is a means plus function element, the proper

23         structure for the second filtering means is a nonlinear

24         matched filter, correct?

25           A. Could we see the claim again, just so I'm clear there?




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 1           Q. Sure.

 2                    MR. GALLEGOS:    Can we put that up again.     It's JTX1,

 3         claim -- at claim 15, the second filtering means.         And if we

 4         could actually carry it over to the next column, so Dr. Mundy

 5         has the benefit of the entirety of the claim language.          There

 6         is some overlap there.      Can we make sure the top part or the

 7         top frame isn't obscured?

 8           Q. There you go, Dr. Mundy.      So you see the claim language

 9         for the second filtering means now?

10           A. Yeah.   Give me a second to read it, please.

11           Q. Certainly.

12           A. Okay.   Could you ask the question again now?

13           Q. Sure.   In your opinion, if the second filtering means is

14         a means plus function element, the proper structure for the

15         second filtering means is a nonlinear filter, correct?

16           A. That would be part of it, yes.

17                    MR. GALLEGOS:    Your Honor, I would like to put up

18         Dr. Mundy's deposition transcript -- or an excerpt from Dr.

19         Mundy's deposition beginning at page 32, lines 10 through 17.

20                    THE COURT:   Okay, Counsel.

21                    MR. MARCHESE:    No objection, Your Honor.

22                    (Thereupon, the video was played.)

23           Q. So moving forward, then, Dr. Mundy, it's your opinion

24         also that the OKAO software implementation -- or in the OKAO

25         software implementation, the first filtering means of the




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 1         '163 patent is implemented in the coarse search, correct?

 2           A. That's correct.

 3           Q. And it's also your position that in the OKAO software

 4         implementation, the second filtering means of the '163 patent

 5         is implemented in the fine search, correct?

 6           A. That's true.

 7                    MR. GALLEGOS:    Your Honor, at this point I move

 8         JTX2191 into evidence.

 9                    THE COURT:   It will be received.

10                    (Thereupon, Exhibit Number JTX2191 was received in

11         evidence.)

12                    MR. GALLEGOS:    Can we publish it?

13                    THE COURT:   Yes.

14                    MR. GALLEGOS:    And if we could enlarge the image

15         here.

16                    MR. MARCHESE:    Your Honor, this is an excerpt from

17         Dr. Mundy's expert report.

18                    MR. GALLEGOS:    It's on the --

19                    MR. MARCHESE:    Objection on the same grounds.      It's

20         hearsay, and it's --

21                    THE COURT:   It will be sustained.     It can be used

22         for demonstrative purposes only.

23                    MR. GALLEGOS:    That's fine.    This is on the joint

24         exhibit list, and there was no objection.

25                    THE COURT:   Okay.




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 1           Q. This is from your infringement report in this case,

 2         correct, Dr. Mundy?

 3           A. Yes.

 4           Q. And at the top there is a label that says, "Cascade

 5         func."      Do you see that?

 6           A. I do.

 7           Q. A cascade func is the main interface to the cascade

 8         processing, correct?

 9           A. Yes.

10           Q. So this diagram shows the cascade func process flow,

11         right?

12           A. Yes.

13           Q. And the processing flow in this diagram is used for both,

14         for both the coarse and fine cascades, correct?

15           A. I testified to that for the OKAO software.        There is

16         different hardware that accomplishes this in the parfait and

17         pine implementations.

18           Q. You provided an expert report in this case, right?

19           A. Yes.

20           Q. And in that report, you analyzed human face detection.

21         You actually analyzed human face detection and face -- I'm

22         sorry, try that again.

23                     In your report, you analyzed human face detection

24         and pet detection software and hardware from Omron

25         Corporation, correct?




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 1           A. Yes.

 2           Q. And there are several versions and implementations of the

 3         face and pet detection software and hardware, correct?

 4           A. Um, yes.

 5           Q. And you found that the software and hardware is

 6         remarkably similar across versions and implementations,

 7         correct?

 8           A. I did find that, yes.

 9           Q. And you found not only that, but you also found that

10         there were only very minor differences that are not material

11         to the understanding of the operation of the implementation

12         of the Omron code, correct?

13           A. Yes, I just testified that way.

14           Q. And when I say "the Omron code," you understand I'm

15         talking about code relevant to the software and hardware

16         implementations, correct?

17           A. Yes, I'll take that.

18           Q. So let's move on to the next area.

19                     MR. GALLEGOS:   Please go to JTX1 again.     This is the

20         '163 patent.     And please go back to claim 15.      And let's

21         highlight the first filtering means again.

22           Q. So in claim 15, do you see where it says that -- around

23         line 33, that the first filtering means must be configured to

24         correlate said input image with a reference image pattern to

25         select the image regions?




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 1           A. I see that, yes.

 2           Q. And you understand that correlation is a linear process?

 3           A. Um, yes.

 4           Q. So in JTX1, let's go to claim 16 again.        So in the next

 5         column over, at around line 14, you see where claim 16

 6         requires a linear matched filter, right?

 7           A. Yes.

 8           Q. And in your opinion, a linear filter is a filter where

 9         the output is proportional to the peak-to-peak amplitude of

10         the image pattern, correct?

11           A. Yes.    However, in a digital system, proportionality has

12         to take into account the fact that we have discrete values,

13         as I said in my analogy with the oven temperature.

14           Q. We'll get to that.     In your opinion, the coarse search

15         operation is linear, because the correlation value will

16         increase in direct proportion to the peak-to-peak amplitude

17         of the pattern of the input image, correct?

18           A. Yes.    Again, as a digital system would do that.

19                     MR. GALLEGOS:   So could we put up PDX476.      This is

20         one of the slides that was discussed with Dr. Mundy.          And can

21         we expand the slide to focus on the face on the right?          And

22         can we further enlarge the rectangles at the top left of the

23         image?

24           Q. So here, Dr. Mundy, we see there is a rectangle on the

25         left, shown in black, that is labeled A, correct?




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 1           A. Correct.

 2           Q. And there is a rectangle on the right, shown in white,

 3         that is labeled B?

 4           A. Yes.

 5           Q. So some of the accused hardware implementations compare

 6         two quantities for each pair of rectangles, correct?

 7           A. Yes.

 8                     MR. GALLEGOS:   Can we back out and display the whole

 9         slide again?     And let's focus on the Pine2 hardware on the

10         bottom left of the slide.      Please highlight where it says

11         "Pine2."     And let's highlight B minus A, A greater than equal

12         to B.

13           Q. Dr. Mundy, in your opinion, this is part of a linear

14         filter operation, correct?

15           A. Yes.

16                     MR. GALLEGOS:   Now, let's put up PDX465.     And this

17         is another one of the slides that was discussed with Dr.

18         Mundy.

19           Q. Just referring you, Dr. Mundy, to refresh your

20         recollection, at the top of the slide.        It's your opinion

21         that the Pine2 hardware corresponds to coarse search in the

22         OKAO software, correct?

23           A. That is true.

24                     MR. GALLEGOS:   Now, let's expand the slide to focus

25         on the boxes at the left, labeled Pine2D2.V, and Pine2D7.V,




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 1         LUT calculations.

 2           Q. So Dr. Mundy, do you see on the left in your slide here,

 3         where it says, "Select 16 pairs of rectangles, LALB"?

 4           A. Yes.

 5           Q. And in the next sentence down, it states that each pair

 6         will generate a bit of the LUT index.        Do you see that?

 7           A. Yes.

 8                     MR. GALLEGOS:   So now can we highlight the operation

 9         LA00 greater than, equal to LB00.

10           Q. That operation involves a comparison of two values,

11         right?

12           A. Yes, that is the operation there.

13           Q. And the result of that operation is one bit, correct?

14           A. That's correct.

15           Q. And a bit has a value of a one or a zero, right?

16           A. Correct.

17                     MR. GALLEGOS:   So can we enlarge this box that has

18         the operation LA00 greater than, equal to LB00?         You can drop

19         the box on the left.

20           Q. So we are comparing LA00 to LB00, correct?

21           A. Yes, we are.

22           Q. And assume the value of LA00, on the left, is 20 and the

23         value of LB00, on the right, is 10.        So we are comparing 20

24         and 10?

25           A. Yes.




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 1           Q. LA00 is twice the value of LB00, right?

 2           A. Sure.

 3           Q. The result of this operation is going to be a one, right?

 4           A. Yes.

 5           Q. Now let's assume the value of LA00, on the left, is

 6         increased to 25, and the value of LB00, on the right, is

 7         decreased to two.     All right?

 8           A. Sure.

 9           Q. So now 25 is more than 10 times greater than the value

10         two, right?

11           A. True.

12           Q. And the result of this operation is still going to be a

13         one, correct?

14           A. That's correct, but that is all --

15           Q. And is it your testimony that the result of that

16         operation is proportional to the difference between the

17         values of LA00 and LB00?

18           A. Of course it is.

19                     MR. GALLEGOS:   Let's take the slide down.

20           Q. Dr. Mundy, is X squared a linear function?

21           A. No.

22           Q. And is X squared minus one a linear function?

23           A. No.

24           Q. So just subtracting a one doesn't change a nonlinear

25         function into a linear function, correct?




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 1           A. That's true.

 2           Q. Okay.   So let's move on to the next area now.

 3                    MR. GALLEGOS:    Your Honor, I move JTX1659 into

 4         evidence.

 5                    THE COURT:   It will be received.

 6                    (Thereupon, Exhibit Number JTX1659 was received in

 7         evidence.)

 8                    MR. GALLEGOS:    Can we have the top enlarged?

 9           Q. Do you see this paper is titled "Rapid object detection

10         using a boosted cascade of simple features"?

11           A. I see that, yes.

12           Q. And do you see the authors are Paul Viola and Michael

13         Jones?

14           A. I see that, yes.

15           Q. And actually, at the bottom of the first page, do you see

16         that this paper is dated 2001?

17           A. I see that, yes.      It's a little small, but, yeah.

18           Q. If I refer to this as the 2001 Viola-Jones paper, you

19         will understand what I'm referring to?

20           A. Yes, I will.

21           Q. And do you understand that Omron's face detection

22         technology implements the main functional components of the

23         Viola-Jones algorithm?

24           A. They use that as a guide in developing their

25         implementations, yes.




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 1           Q. You understand that the '163 patent makes no mention of

 2         the 2001 Viola-Jones paper?

 3           A. Well, I wouldn't expect it to.

 4           Q. The 2001 Viola-Jones paper reported a face detection

 5         algorithm capable of running a video frame rate of 15 frames

 6         per second on conventional hardware, which was 15 times

 7         faster than any previous approach, correct?

 8           A. Yes.    And, of course, it used the '163 patent ideas to do

 9         that.

10           Q. Well, that is your opinion.      We understand that.

11                     By virtue of using the Viola-Jones algorithm,

12         Omron's face detection algorithm also runs at a video frame

13         rate of 15 frames per second on conventional hardware, and

14         which was 15 times faster than any previous approach,

15         correct?

16           A. Um, well, at least the approaches they compared to.

17           Q. Do you disagree that by virtue of using the Viola-Jones

18         algorithm, Omron's face detection algorithm also runs at a

19         video frame rate of 15 frames per second on conventional

20         hardware, and which was 15 times faster than any previous

21         approach?

22           A. I disagree with the point that the reason that it's fast

23         is because of Viola-Jones.      It's fast because of the '163

24         patent.     Viola-Jones implements the '163 patent exactly, and

25         so the reason it's fast is because of that.




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 1                    Now, I'm not saying that Viola-Jones, those authors

 2         were aware of the '163 patent, but there are many instances

 3         in scientific research where the same ideas come up over --

 4         independently by different researchers.        This algorithm that

 5         you are talking about here is definitely within the scope of

 6         the '163 patent.

 7           Q. We understand that is your opinion, Dr. Mundy.         Just to

 8         be clear, you don't disagree with the straightforward

 9         proposition that by virtue of using the Viola-Jones

10         algorithm, Omron's face detection algorithm also runs at a

11         video frame rate of 15 frames per second on conventional

12         hardware, and which was 15 times faster than any previous

13         approach?

14           A. Well, I'm not sure about that last statement.

15                    MR. MARCHESE:    I said asked and answered.      That's

16         okay.

17                    THE WITNESS:     I'm not sure about the last part of

18         your statement.

19                    MR. GALLEGOS:    Your Honor, I would like to put up a

20         deposition excerpt from Dr. Mundy's deposition, at page 44,

21         lines 7 through 13.

22                    MR. MARCHESE:    No objection, Your Honor.

23                    THE COURT:     Okay.

24                    (Thereupon, the video was played.)

25                    MR. GALLEGOS:    Pass the witness, Your Honor.




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 1                    THE COURT:   Okay.   Redirect.

 2                    MR. GALLEGOS:    Your Honor, just as a bookkeeping

 3         matter, I would have that last deposition excerpt designated

 4         JTX2229.

 5                    THE COURT:   Thank you, Counsel.

 6                    THE CLERK:   I'm sorry, were you moving both of those

 7         depo clips into evidence?

 8                    MR. GALLEGOS:    So to be clear, JTX2228 I believe is

 9         in.   And then I played another depo excerpt.         That one should

10         be JTX2229.    And this last one I guess would be JTX2230.

11                    THE CLERK:   I only have two.

12                    MR. GALLEGOS:    Can we clarify this at the break?

13                    THE COURT:   Yes.    Certainly, Counsel.

14                    MR. GALLEGOS:    Thank you.

15                    THE COURT:   Redirect.

16                                 REDIRECT-EXAMINATION

17         BY MR. MARCHESE:

18           Q. I'm going to work my way up in the reverse order, so I'll

19         start with the last thing that counsel asked you about.

20                    MR. MARCHESE:    Can we have page 44 of Dr. Mundy's

21         deposition up, please, Mr. Ang?       Pages 7 through 13.     44, 7

22         through 14.    13, sorry.

23           Q. Dr. Mundy, the last thing you were asked about, as I

24         recall, was this question here about Viola-Jones, and you

25         testified that Viola-Jones, as I recall, implements the '163




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 1         patent.     Does that sound right?

 2           A. That's correct.    Yup.

 3           Q. So can you please explain what you were saying here, if

 4         you would?     Just illuminate us a little bit more about what

 5         your answer meant.

 6           A. What I was objecting to, let me explain that.        The

 7         Viola-Jones paper only compared itself to a limited number of

 8         other algorithms.      And it was 15 times faster than any of

 9         those, but it didn't compare itself to all possible face

10         detection algorithms.      So that is why I was quibbling a

11         little bit.

12                     And I didn't make that distinction in my deposition,

13         but it's definitely true that Viola-Jones only compared

14         itself to three or four other algorithms.

15           Q. And is it your conclusion that the Omron code that you've

16         analyzed is 10 or 15 times faster than the materials that

17         came before the '163 patent, and were cited in the patent,

18         because of the invention of the '163 patent?

19           A. Absolutely.

20           Q. And, sir, you were asked a question by counsel about the

21         Viola-Jones paper not being cited in the '163 patent.           Do you

22         remember that?

23           A. Yes.

24           Q. Why is that?

25           A. Well, I don't think Viola-Jones -- those guys are very




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 1         smart.    I know one of them.    But they don't have a time

 2         machine, so they can't go back two years, to 1999, and insert

 3         their names into the patent.

 4           Q. '163 patent was filed in 1999, right?

 5           A. Right.

 6           Q. Viola-Jones paper, as we saw, was published in 2001,

 7         right?

 8           A. Right.

 9           Q. So it's not surprising that the '163 patent, two years

10         before, wouldn't cite something that did not exist, correct?

11           A. Completely unsurprising.

12           Q. All right.    Let's --

13                    MR. MARCHESE:    Could we have PDX465, please.

14           Q. Okay.    And counsel for Nikon asked you some questions

15         about the math here.

16           A. Yeah.

17           Q. Was saying, I think, 20 is greater than 10, and 25 is

18         greater than two, and nevertheless, they both yield a one as

19         the result, right?

20           A. Oh, yes.   Yeah.

21           Q. And I think the implication was that this was -- I think

22         the implication would be that this was a nonlinear operation?

23           A. That's right, yeah.

24           Q. And can you explain, you know, your conclusion as to why,

25         if it is, linear?




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 1           A. Oh, yes.   We come back to my analogy about the stove,

 2         right?    Where the temperature of the stove right now is 400.

 3         We are going to be heating it up to 425 because we are going

 4         to do chicken wings or something.       So the oven is heating up.

 5         It's now 410.     The display on the stove is still going to say

 6         400, even though it's 410.      It's going to go to 420; it's

 7         still going to say 400.

 8                    Finally, when it gets to 425, it's going to say 425.

 9         It suddenly switches.      And that is linear.     It's proportional

10         to the temperature, but the precision is only 25 degrees.

11                    Now, what is being pointed out here is a case where

12         the precision is only one choice.       And that would correspond

13         to a stove I have at home, where it's a glass top.          And so

14         when you put a pot on it, it has a little red sign that says

15         "hot," so you don't burn your fingers on the glass.          And so

16         the "hot" display comes on when the temperature is hot enough

17         for you to burn your hand.      If it's below that temperature,

18         it doesn't show anything.

19                    So that is exactly what is going on here.        The

20         display is still proportional, but it just shows nothing if

21         it's cool enough so you don't get burned, and as the

22         temperature goes up, it shows "hot."        And that is still

23         proportional; it's just the precision is very low.          It only

24         has two values.

25           Q. Now, Dr. Mundy, you explained in your direct testimony




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 1         that this greater than or equal to comparison here is

 2         implemented in a particular way in the pine hardware; is that

 3         correct?

 4           A. Yes.    It's done in hardware.    And so in order to do this

 5         comparison, what we first do is we subtract B from A, and

 6         then test whether that subtracted value is greater than or

 7         less than zero.     That is the way computer hardware does it.

 8                     And so even though this looks like a comparison,

 9         inside the computer it is still actually doing subtraction,

10         which is our linear operation that I pointed to three or four

11         times.

12           Q. All right.

13                     MR. MARCHESE:   And can we go to page 32 of Dr.

14         Mundy's deposition, lines 8 through -- excuse me, 9 through

15         17, please?

16           Q. Dr. Mundy, on your cross-examination, you were asked

17         about this passage in your deposition, correct?

18           A. Yes.

19           Q. And this particular question is about the second

20         filtering means, right?

21           A. Yes.

22           Q. And you were also asked a similar question about the

23         first filtering means, right?

24           A. Yes.

25           Q. And this particular question, were you asked about which




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 1         part of the first filtering element means -- or, I'm sorry,

 2         the first filtering means element and second filtering means

 3         elements were the functions that performed the -- I'm sorry,

 4         the structure that performed the -- that's a bad question.

 5         Let me ask it again.

 6                    When you were being asked these questions at your

 7         deposition with respect to the first filtering means and the

 8         second filtering means, was counsel asking you about which

 9         particular function was associated with the structures he was

10         asking about?

11           A. Right.   The function wasn't precisely stated in those

12         questions.

13                    MR. MARCHESE:    Thank you.    I have nothing further,

14         Your Honor.

15                    THE COURT:     Okay.   Recross?

16                    MR. GALLEGOS:    Nothing further, Your Honor.

17                    THE COURT:     You may step down.   Thank you very much.

18                    Next witness?

19                    MR. GLITZENSTEIN:      Your Honor, at this point,

20         plaintiffs rest their case in chief.

21                    THE COURT:     Okay.   Thank you, Counsel.

22                    Defense?

23                    MR. BELUSKO:     Your Honor, and I know you'll let me

24         reserve this, but we'll bring a JMOL motion, a 50(a) motion.

25                    THE COURT:     Yes, that will be noted for the record.




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 1         And it will -- I'll take it under submission, and it can be

 2         reserved.

 3                    MR. BELUSKO:     Thank you, Your Honor.     At this time

 4         we call Mr. Kitaoka.       We have him outside.

 5                    This witness will require an interpreter.         May we

 6         have the interpreter approach and go around?

 7                    THE COURT:     Yes.

 8                    You can swear the interpreter in first.

 9                    THE CLERK:     May I have your name for the record,

10         please.

11                    THE INTERPRETER:      Doreen Jackson.

12                    THE CLERK:     Please raise your right hand.

13                    (Thereupon, the interpreter was first duly sworn.)

14                    THE CLERK:     Thank you.   Okay.   And go ahead and take

15         the stand, and we'll swear in the defendant -- I mean, the

16         witness.

17                    THE INTERPRETER:      Is there a place for me to --

18                    THE CLERK:     I can get you a chair.     Okay.   And did

19         you want to go ahead and --

20                    THE COURT:     Ladies and gentlemen, while they are

21         doing this, let me explain to you, when we have an

22         interpreter to interpret for a witness, the testimony you are

23         to consider is what comes from the mouth of the interpreter.

24         Even if you speak Japanese and you hear something and you

25         say, "This is what he really" -- you can't consider that.




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 1         All you can consider is the testimony that is coming from the

 2         mouth of the interpreter.

 3                    That is because we all have to be looking at the

 4         same evidence when it comes in.       So everybody has to see the

 5         same evidence and the same interpretation of the evidence.

 6         So only what the interpreter says.          And what we'll do here is

 7         take the microphone away from the witness and just have

 8         the -- are you okay?

 9                    THE INTERPRETER:     I'm fine.

10                    THE COURT:     We'll have just the interpreter, if she

11         can -- if it works out well for you, you can speak into the

12         microphone, rather than the witness.          Okay.   Any problems

13         with that?    Okay.

14                    THE CLERK:     If I could ask the witness, please, to

15         raise his right hand.

16         THEREUPON:

17                                     NAOKI KITAOKA,

18         called in these proceedings and being first duly sworn

19         testifies as follows:

20                    THE CLERK:     You may be seated.    I'll ask that you

21         state your full name for the record, and spell your last

22         name.

23                    THE WITNESS:     My name is Naoki Kitaoka,

24         K-i-t-a-o-k-a, N-a-o-k-i.

25                    THE INTERPRETER:     Last name is spelled




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 1         K-i-t-a-o-k-a, and first name N-a-o-k-i.

 2                    THE COURT:   Thank you.    And if you could pull the

 3         microphone over to the interpreter more, so we can hear you.

 4                    And try to get as close to the microphone, so we can

 5         hear you.

 6                    Counsel, you may inquire.

 7                                  DIRECT EXAMINATION

 8         BY MS. TERAGUCHI:

 9           Q. Good afternoon, Mr. Kitaoka.      Mr. Kitaoka, you are using

10         an interpreter today.      Do you have an understanding of

11         English?

12           A. I can understand to some degree.

13           Q. Why do you want to use an interpreter?

14           A. Well, today is an official trial, and I want to make sure

15         that there is no misunderstanding, so I'm using an

16         interpreter.

17           Q. What is your educational background?

18           A. I have a bachelor's degree and master's degree in

19         mechanical engineering.

20           Q. Where do you work?

21           A. I work at Nikon Corporation in Tokyo.

22           Q. How long have you worked for Nikon Corporation?

23           A. I have worked at Nikon Corporation since 1990, so for

24         28 years.

25           Q. What is your title?




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 1           A. I work at Nikon Corporation's imaging business unit, in

 2         the marketing section, and I'm the department manager of the

 3         UX planning department.

 4           Q. What does UX stand for?

 5           A. It stands for user experience.

 6           Q. Could you briefly describe the positions you've held at

 7         Nikon?

 8           A. When I first began working at Nikon Corporation, I worked

 9         on designing cameras and lenses, and I also did design

10         specifications.     And then since about five years ago, I

11         started working in the current department, in marketing.

12           Q. What are your current job responsibilities in the

13         marketing department?

14           A. I work in the -- I work on cameras and lens products and

15         software marketing, and to the commercialization of these

16         products.

17           Q. As part of your marketing responsibilities, do you do

18         anything in order to learn customer preferences?

19           A. Yes, I do.

20           Q. What do you do?

21           A. Well, I analyze cameras and lens products that are in the

22         general marketplace, and I also look at requests and opinions

23         that customers have expressed to our company based on the

24         products, the camera and lens products that they have

25         purchased.    And I also listen to interviews in focus groups




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 1         and hear customers' opinions there.

 2           Q. Could you please provide a general overview of Nikon's

 3         business?

 4           A. Last year Nikon commemorated its 100th year in business.

 5                    THE INTERPRETER:    I'm asking about a word he used.

 6                    THE WITNESS:    Since it was established, Nikon has

 7         manufactured and sold optical lenses, and since about

 8         70 years ago, manufactured high-performance lenses and

 9         quality lenses.

10           Q. Where is Nikon Corporation located?

11           A. The headquarters of Nikon Corporation is located in

12         Tokyo.

13           Q. Where are Nikon cameras manufactured?

14           A. Nikon manufactures within Japan domestically, and also

15         overseas in countries like Thailand and Indonesia.

16           Q. Where are lenses and other accessories for Nikon cameras

17         manufactured?

18           A. Nikon lenses and other accessories are manufactured

19         within Japan and also in Thailand, as well as China.

20           Q. I'm going to refer to Nikon cameras, lenses, and

21         accessories as camera products.       Is that okay?

22           A. Yes, that is no problem.

23           Q. Does Nikon Corp, itself, manufacture any camera products?

24           A. Nikon Corporation does not, itself, manufacture camera

25         products.




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 1           Q. Are any Nikon camera products manufactured in the United

 2         States?

 3           A. Nikon camera products are not manufactured at all in the

 4         United States.

 5           Q. Are Nikon camera products sold in the United States?

 6           A. Yes.

 7           Q. How?

 8           A. Nikon's camera products are sold in the United States

 9         through a company called Nikon Inc.

10           Q. Does Nikon Corporation, itself, sell any camera products

11         in the United States?

12           A. The Japanese Nikon Corporation does not sell camera

13         products in the United States.

14           Q. Does Nikon Corporation have any offices in the United

15         States?

16           A. The Japanese Nikon Corporation does not have offices in

17         the United States.

18           Q. How are Nikon camera products imported into the United

19         States?

20           A. The cameras that are manufactured domestically and

21         overseas that I mentioned before, those camera products that

22         are manufactured overseas and domestically in Japan are

23         purchased by the Japanese Nikon Corporation.         And then the

24         U.S. company Nikon Inc. buys the products from the Japanese

25         Nikon Corporation, FOB Japan.




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 1                    And this means that the American company Nikon Inc.

 2         purchases; therefore, it imports these camera products into

 3         the U.S.

 4           Q. What does FOB mean?

 5           A. It stands for free on board.      This means that the

 6         American company Nikon Inc. -- that the camera products that

 7         it has purchased from Japan is -- now becomes the property of

 8         Nikon Inc.

 9           Q. Does Nikon Corp import any camera products into the

10         United States?

11           A. No.

12           Q. Does Nikon Corp sell or offer to sell any camera products

13         into the United States?

14           A. No.

15           Q. Does Nikon Corp perform any repair services for the

16         camera products in the United States?

17           A. The Japanese Nikon Corporation does not offer repair

18         services in the United States.       The American domestic repair

19         service is located in the United States -- in Los Angeles for

20         U.S. products.     But that is owned by Nikon Inc.

21           Q. What is the corporate relationship between Nikon Corp and

22         Nikon Inc.?

23           A. The American company Nikon Inc. is a subsidiary of the

24         American company Nikon Americas.       Nikon Americas and Nikon

25         Inc. are independent companies established under American




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 1         laws.      So Nikon Americas is a subsidiary of the Japanese

 2         corporation Nikon Corporation.       And Nikon Corporation is an

 3         independent company that was established under Japanese laws.

 4           Q. Mr. Kitaoka, I want to ask you about a few specific

 5         camera models.

 6           A. Okay.

 7           Q. Does Nikon still manufacture the D4 camera?

 8           A. No.

 9           Q. Does Nikon still manufacture the D4S camera?

10           A. No.

11           Q. In your marketing -- let me restate.

12                     In your marketing experience, what do customers look

13         for in Nikon digital cameras?

14           A. Customers who are interested in Nikon cameras or those

15         who purchase Nikon cameras are interested in Nikon's products

16         because of their high optical performance and their quality

17         and their reliability.

18           Q. Are you familiar with face detection features in Nikon

19         digital cameras?

20           A. Yes, I know them.

21           Q. In your marketing experience, is face detection a key

22         feature for Nikon digital -- sorry.        Let me restate that.

23                     In your marketing experience, is face detection a

24         key feature for Nikon's customers?

25           A. No, I don't believe so.




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 1           Q. Why not?

 2           A. Well, as I said before, those customers who are

 3         interested or who purchased Nikon camera products are

 4         interested in those products because of their high lens

 5         performance and image quality and reliability.

 6           Q. Are you familiar with ISO settings in cameras?

 7           A. Yes, I am.

 8           Q. What are ISO settings?

 9           A. ISO settings are the element that allows digital cameras

10         to take in light.     And the higher the ISO setting means that

11         that camera can take in a higher level of light.         For

12         example, a camera with a high ISO setting can take instant --

13         take photos in a split second, such as in sports or in action

14         photos, without blurring and be very accurate.

15           Q. Let me ask you about the D4 camera.       In your marketing

16         experience, which ISO settings are key to the D4?

17           A. Of course, for the D4, the high ISO setting, which would

18         indicate a greater ability to take in light, would be

19         important.

20           Q. How about the low ISO settings?

21                    THE INTERPRETER:     I'm just confirming a word.

22           A. With the D4 camera, if you are taking sports photos or

23         photos for reporting, such as for news, a low ISO setting

24         would not be important.

25                    MS. TERAGUCHI:     I pass the witness.




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 1                     THE COURT:   Okay.

 2                     THE CLERK:   I don't have your appearance.      Could you

 3         state it on the record.

 4                     MS. TERAGUCHI:      Oh, I'm sorry.   My name?

 5                     THE CLERK:   Yes.

 6                     MS. TERAGUCHI:      My name is Yuka Teraguchi, Y-u-k-a,

 7         T-e-r-a-g-u-c-h-i.

 8                     THE COURT:   Thank you, Counsel.

 9                     Cross-examination.

10                     MR. GLITZENSTEIN:     Thank you, Your Honor.

11                                   CROSS-EXAMINATION

12         BY MR. GLITZENSTEIN:

13           Q. Good afternoon, Mr. Kitaoka.        Mr. Kitaoka, you work for

14         Nikon Corporation, correct?

15           A. Yes.

16           Q. And in particular, you are the department manager of the

17         UX planning department of the imaging unit at Nikon

18         Corporation, correct?

19           A. Yes.

20           Q. And Nikon Inc. is a member of the imaging business unit,

21         true?

22           A. Nikon Inc. is a member of the imaging group.

23           Q. And the imaging group is the imaging business unit, true?

24           A. Yes, that was my understanding in my reply.

25           Q. All right.    Thank you.      And the imaging business unit, or




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 1         imaging group, is the group at Nikon that is responsible for

 2         the design of Nikon digital cameras, correct?

 3           A. The imaging business group has the responsibility for

 4         designing Nikon digital cameras.

 5           Q. And in your direct examination, sir, you were asked about

 6         the camera feature of face detection.        Do you recall that?

 7           A. Yes, I remember.

 8           Q. And it was your testimony on your direct examination that

 9         face detection is not a key feature of any Nikon camera; is

10         that true?

11           A. I believe that the level of importance of face detection

12         in Nikon cameras is low.

13           Q. Now, you testified on direct that you have received

14         opinions from customers such as through focus groups, true?

15           A. Yes.

16           Q. And you, sir, did not show the jury any documents from

17         any focus group studies reflecting any consumers'

18         perspectives on the issue of face detection, true?

19           A. Are you speaking about today?

20           Q. Yes.

21           A. I have not.

22           Q. All right.    And given your role in Nikon's marketing

23         department, you are aware, are you not, that Nikon hired the

24         American actor Ashton Kutcher to serve as a spokesperson for

25         Nikon digital cameras?




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 1           A. I did not know that.

 2           Q. So I take it, sir, that you have never seen any

 3         television commercials for any Nikon digital cameras in which

 4         Ashton Kutcher shows any functions of those cameras, correct?

 5           A. I have no recollection of seeing that.

 6                    MR. GLITZENSTEIN:    Mr. Ang, can we get JTX1426 --

 7                    I'm sorry, is this in evidence?      1426?

 8                    Your Honor, I move the admission of JTX1426.

 9                    THE COURT:   It will be received.

10                    (Thereupon, Exhibit Number JTX1426 was received in

11         evidence.)

12                    MR. GLITZENSTEIN:    Thank you.

13                    Mr. Ang, can I get 1426, at pages -- go to the

14         second page, please.     And one more.     Can you blow up, please,

15         the scene detection recognition -- scene recognition

16         paragraph?    Thanks.

17           Q. Mr. Kitaoka, in offering your testimony in direct with

18         regard to face detection in Nikon cameras, were you aware,

19         sir, that Nikon, itself, has identified in its marketing

20         materials that face detection is part of the feature

21         highlights for the Nikon D90?

22           A. This is the first time I've seen this particular

23         marketing materials.

24           Q. Turning, sir, to the issue of ISO settings, are you aware

25         that Nikon, in other marketing literature, has identified the




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 1         ability of the Nikon D4 camera to be set to low ISO settings

 2         to be a primary feature of that camera?

 3           A. I am aware that the D4 camera can operate at a low ISO

 4         setting, as well as a high ISO setting.

 5                     THE COURT:   We are going to break at this time,

 6         ladies and gentlemen.      Remember the admonishment not to

 7         discuss the case among yourselves or anyone else, or form any

 8         opinions until you retire to the jury room.         See you back in

 9         15 minutes.

10                     (Thereupon, the jury retired from the courtroom.)

11                     (Thereupon, there was a brief recess.)

12                     THE COURT:   The record reflect all the members of

13         the jury are in their respective seats in the jury box, the

14         witness is on the witness stand.

15                     And, Counsel, you may continue your direct.

16                     MR. GLITZENSTEIN:   Cross-examination, Your Honor?

17         Thank you, Your Honor.

18           Q. Mr. Kitaoka, you are Nikon's corporate representative at

19         this trial, correct?

20           A. Yes.

21           Q. And, in fact, you are the most senior representative from

22         Nikon who will be providing testimony at this trial, correct?

23           A. As far as marketing is concerned, yes.

24           Q. Is there anybody who is going to be testifying, to your

25         knowledge, who is more senior than you?




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 1           A. No.    Another person who may testify a little later in the

 2         trial is Mr. Sanbongi, who is the same level as me.

 3           Q. Thank you.    Mr. Kitaoka, Nikon has a written intellectual

 4         property policy, correct?

 5           A. Yes.

 6           Q. And Nikon's written intellectual property policy requires

 7         it to respect the patent rights of third parties, true?

 8           A. That is what I remember, yes.

 9           Q. And it also requires Nikon to use its best efforts to

10         avoid infringing other companies' patents, correct?

11           A. Yes, that is what I remember.

12           Q. And, Mr. Kitaoka, you were deposed in this matter in July

13         of this year, correct?

14           A. Yes.

15           Q. And at the time we took your deposition, you had not seen

16         any of the five patents involved in this lawsuit, true?

17           A. No, I had not seen them.

18                     MR. GLITZENSTEIN:   Thank you, Mr. Kitaoka.

19                     Your Honor, no further questions.     Pass the witness.

20                     THE COURT:   Thank you, Counsel.

21                     Redirect?

22                     MS. TERAGUCHI:   Yes.

23                                  REDIRECT-EXAMINATION

24         BY MS. TERAGUCHI:

25           Q. Mr. Kitaoka, which company is in charge of marketing in




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 1         the United States, Nikon Inc. or Nikon Corp?

 2           A. The U.S. marketing is handled by the U.S. company Nikon

 3         Inc.

 4           Q. Who at Nikon Inc. is in charge of marketing in the United

 5         States?

 6           A. The person responsible for marketing at Nikon Inc. is the

 7         head of the company, Kajiwara, and also the vice president,

 8         Jay.   I believe they are the ones responsible.

 9           Q. Do you know Mr. Jay's full name?

10           A. I'm sorry, I don't remember.

11                    MS. TERAGUCHI:      No further questions.

12                    THE COURT:   Any recross?

13                    MR. GLITZENSTEIN:     No, Your Honor.

14                    THE COURT:   You may step down.     Thank you very much,

15         sir, for coming in.

16                    Next witness?

17                    MR. GALLEGOS:    Your Honor, with the Court's

18         indulgence before we call our next witness, just a

19         housekeeping matter.

20                    THE COURT:   Yes.

21                    MR. GALLEGOS:    We move the following video excerpts

22         from Dr. Mundy's September 10, 2008, deposition into

23         evidence.    First is JTX2228, and that is page 31, line 21,

24         through page 32, line 8.        Next is JTX2229, and that is page

25         32, lines 10 through 17.        Next is JTX2230, and that is page




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 1         44, lines 7 through 13.

 2                    (Thereupon, Exhibit Number JTX2228, pages 31-32,

 3         Exhibit Number JTX2229, page 32, Exhibit Number JTX2230, page

 4         44 were received in evidence.)

 5                    THE COURT:     They will be received.     Next witness?

 6                    MR. GALLEGOS:     Yes, Your Honor.     At this time the

 7         Nikon parties call Dr. Trevor Darrell to the stand.

 8                    THE CLERK:     Good afternoon.     Right here to be sworn,

 9         please.    Please raise your right hand.

10         THEREUPON:

11                                 TREVOR JACKSON DARRELL,

12         called in these proceedings and being first duly sworn

13         testifies as follows:

14                    THE CLERK:     Thank you.     You may be seated.

15                    MR. GALLEGOS:     And, Your Honor, may I approach and

16         have a pad handed to Dr. Darrell?

17                    THE COURT:     Yes.

18                    THE CLERK:     May I please ask that you state your

19         full name for the record, and spell your last name.

20                    THE WITNESS:     Trevor Jackson Darrell, D-a-r-r-e-l-l.

21                    THE CLERK:     Thank you.

22                    MR. GALLEGOS:     Your Honor, if I may?

23                    THE COURT:     Yes, please.

24                                   DIRECT EXAMINATION

25         BY MR. GALLEGOS:




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 1           Q. Good afternoon, Dr. Darrell.

 2           A. Good afternoon.

 3           Q. Please introduce yourself to the jury.

 4           A. My name is Trevor Darrell.      I'm a professor of computer

 5         science at the University of California Berkeley, and I'm

 6         here as an expert witness for Nikon.

 7           Q. And where were you before you were at Berkeley?

 8           A. I was also a professor at the Massachusetts Institute of

 9         Technology, MIT.

10           Q. What did you do there?

11           A. I was a professor of computer science.

12           Q. Have you come here today to express your expert opinions

13         on issues regarding the '163 patent?

14           A. Yes.

15           Q. And before we get to your opinions, I would like to ask

16         you about your training, education, and experience which

17         qualifies you to render those opinions.

18                     MR. GALLEGOS:   Can we have slide DDX2.3 on the

19         screen, please.

20           Q. Dr. Darrell, can you briefly describe your post high

21         school education?

22           A. I got a bachelor's degree in computer science from the

23         University of Pennsylvania in 1998.        I got a masters and a

24         Ph.D. degree from MIT in 1991 and 1996.        After I got my

25         Ph.D., I worked for a research lab in Palo Alto for a few




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 1         years, and then I moved back to be a professor at MIT.          And

 2         then I moved in 2008 to UC Berkeley.

 3           Q. What are your primary responsibilities as a professor at

 4         UC Berkeley?

 5           A. I teach graduate students, I lead research, I teach

 6         undergraduates, I fundraise for the university, and perform

 7         various service roles.

 8           Q. And in what areas do you do your research and teaching?

 9           A. Computer vision, machine learning, artificial

10         intelligence.     I'm cofounding director of the Berkeley

11         Artificial Intelligence Research Lab, which is the group that

12         brings together all of the faculty who are doing AI research.

13                    I'm also codirector of something called the Berkeley

14         DeepDrive Center, which is our entity that brings together

15         all the faculty doing autonomous driving, all this new cool

16         cars start to drive themselves work.        And that is the entity

17         that all of our industrial fundraising from car companies and

18         other related companies flows.

19           Q. Do you also have any consulting experience in object

20         recognition and computer vision?

21           A. I do.   My primary job is as a professor four days a week,

22         but most faculty, one day a week, work outside of the

23         university as well.     And I split my time across many

24         different activities, including legal consulting.         And so I

25         have been a consultant for big companies.        I have consulted




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 1         for Pinterest, which is a well-known social media company.             I

 2         have consulted for Allstate, the insurance company.

 3                    I also advise many small startup companies.        In the

 4         past I advised a company called IQ Engines that built one of

 5         the earliest apps that could take a picture of something you

 6         are interested in and search for it on the Internet, and now

 7         there are many different places you can do that.         That

 8         company was acquired by Yahoo in the mid-2000s.

 9                    I also consulted for a company called Bot Square

10         that tried to build gesture interfaces for computers.           You

11         could maybe wave at your screen to change the channel or

12         something.    That was acquired by Google.      And currently I

13         consult for startups, such as one called Nexar, which is on

14         the autonomous driving space, using a dashcam app for your

15         iPhone.

16                    And another called SafelyYou, which tries to use

17         cameras to help the elderly, specifically those with severe

18         dementia.    And so it's technology for assisted living

19         facilities, to help monitor people who are -- hopefully to

20         prevent them from falling.      Or if they fall, to alert the

21         caregivers, and know whether they hit their head.         It turns

22         out that just knowing whether somebody hit their head when

23         they fell is hugely important to know whether you need to

24         call an ambulance or not.

25           Q. What teaching experience do you have regarding computer




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 1         vision?

 2           A. I have taught the main computer vision graduate courses

 3         at MIT and Berkeley, and I teach many seminars on that topic.

 4           Q. How long have you been doing that type of teaching?

 5           A. For about 20 years.     Since the late '90s.

 6           Q. Have you published any papers or books concerning object

 7         recognition and computer vision?

 8           A. I wouldn't be a very successful professor if I couldn't

 9         answer yes to that question.       I have published.    And that is

10         the life of a professor, is to help my students write papers

11         and teach them how to do that.       And so I have written over

12         270 papers, and more come out every couple of months on

13         archive and all the major conferences.

14                    My papers have been cited almost 70,000 times, I was

15         surprised to see, when I looked up the number for this trial.

16           Q. Have you received any patents for your work in computer

17         vision?

18           A. Nine patents, I believe, yes.

19                    MR. GALLEGOS:    Your Honor, at this time we offer Dr.

20         Darrell as an expert in computer vision and object

21         recognition.

22                    THE COURT:   Qualified to testify.

23           Q. Dr. Darrell, what were you asked to do in this case?

24           A. Form an opinion on the validity of the '163 patent,

25         whether or not the Nikon products infringe the '163 patent,




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 1         and also offer an opinion on whether certain products by HP,

 2         Hewlett-Packard Corporation, practice the '163 patent.

 3                    MR. GALLEGOS:    Can we have slide DDX2.4 on the

 4         screen?

 5           Q. And what did you conclude regarding the issue of

 6         infringement and invalidity?

 7           A. That the '163 patent, especially claim 16, is not

 8         infringed, and is invalid.

 9                    MR. GALLEGOS:    Please go to DDX2.5.

10           Q. What materials did you review in forming your opinions?

11           A. There are a lot, as is typical in these matters.         I

12         reviewed the '163 patent and file history, the claim

13         constructions from the parties, the infringement contentions,

14         and Dr. Mundy's reports, and declarations, deposition

15         transcripts.    I reviewed the source code from Omron

16         Corporation directly, manuals and technical documents that

17         were produced in this case and relevant to the matter.            I

18         inspected and tested various Nikon cameras.

19                    And, of course, for invalidity, the key question is

20         reviewing all of the prior art and publications, many of

21         which I was personally familiar with, and others I searched

22         and found or reviewed as they were provided to me.

23                    MR. GALLEGOS:    Let's go to slide DDX2.6, please.

24           Q. Are you familiar with the concept of a person of ordinary

25         skill in the art?




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 1           A. Yes.    A person of ordinary skill in the art, sometimes

 2         referred to as POSA, is a hypothetical and objective person

 3         who has the knowledge, skill, and experience in the general

 4         subject matter of the patent at the time the patent

 5         application was filed.

 6                     Basically, it's somebody who would have been an

 7         average person of average skill at the time of the patent,

 8         that they could read the patent, they would know what is

 9         available.     They would also have their own common sense and

10         their textbook knowledge of what was available, and they

11         could put things together using normal workmanlike skill.

12           Q. What is the relevant level of skill here?

13           A. For the '163 patent, that would be someone who has a

14         bachelor's degree in electrical engineering, computer

15         science, or related field, and three years of work experience

16         in computer vision or pattern recognition or imaging.

17           Q. Are you a person of at least ordinary skill in the art?

18           A. I am.

19           Q. And how did you use the person of ordinary skill standard

20         in this case?

21           A. I applied it for my infringement analysis, invalidity

22         analysis, and this issue of whether the HP products practice

23         the '163 patent.

24           Q. Thank you, Dr. Darrell.     Now, let's move on to the

25         technology background.




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 1                    MR. GALLEGOS:    Can we put up DDX2.8?

 2           Q. Dr. Darrell, what is an image?

 3           A. An image is, as everyone knows, a two-dimensional picture

 4         that represents what is going on in the scene.         The scene

 5         has -- scene has some sort of structure, light hits the

 6         scene, typically passes through some sort of lens, and then

 7         lands on an image or film and creates an image.

 8                    MR. GALLEGOS:    And so can we advance to slide

 9         DDX2.9?

10           Q. How is an image represented in a computer?

11           A. As I'm sure everyone is familiar with at this point in

12         the trial, you represent an image in a computer as an array

13         of numbers.    Everything is digitized, and so when we are

14         trying to decide what is going on in an image, we need to

15         have algorithms that compare numbers and make -- either find

16         information from those numbers or make decisions about those

17         numbers.

18                    THE COURT:     Counsel, is this demonstrative or are

19         you introducing it?

20                    MR. GALLEGOS:    This is a demonstrative, Your Honor.

21                    THE COURT:     Okay.

22                    THE WITNESS:     I believe we can advance further to

23         illustrate the point, if you wish to.        If I look at a

24         particular spot in this image -- I apologize, my eyes aren't

25         quite good enough to focus on that, so I'm going to have to




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 1         keep looking over here.

 2                    If we look at a specific spot in this image, for

 3         example, that little girl's eye, and we can blow it up, we

 4         can see that, indeed, an image will be made up of a series of

 5         numbers, an array of numbers.

 6                    MR. GALLEGOS:    Please display DDX2.10.

 7           Q. What is image correlation?

 8           A. Image correlation is, as you've already heard, one of the

 9         key concepts in this patent.       It's one of the key

10         limitations.    It's a very, very classic -- it's been around

11         since the '60s and '70s -- method for digital image

12         processing, an algorithm that looks at the numbers in a

13         picture to try to figure out if one image pattern is present

14         somewhere else in an image pattern.        And it's really simple.

15         You just need to know multiplication and addition to figure

16         out how it actually works.

17                    And I think I now control the animation.       If we

18         animate forward, I will try and illustrate this process of

19         image correlation.     So image correlation would take an image

20         pattern -- for example, I'm going to take the eye that we

21         looked at earlier -- and it compares that pattern throughout

22         an image to see where else might that pattern occur.          And it

23         does that very, very simply, by just taking the numbers from

24         the template and taking the numbers from a region of the

25         image, multiplying them together, and adding them up.




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 1                    So I'm going to illustrate that in the next few

 2         animations.    If we can animate forward, here is the template.

 3         We are going to be looking for an eye.        At the end of the

 4         day, we are hoping to find the output of a correlation, is,

 5         itself, going to be an image, which is bright where there

 6         might be eyes, and dark where there -- where there may not be

 7         eyes.

 8                    And remember, I said this was a 1970s technique, so

 9         don't expect it to be perfect.       It's going to be very, very

10         approximate.    But it is exactly what the patent says is done.

11                    So if we animate forward, we can take a particular

12         location in this image.      Now, this one doesn't have an eye.

13         This is a patch from the sweater of this child.         So we are

14         not expecting it to be a high response.        If I actually took a

15         portion -- if I took a region from the portion of the image

16         that had an eye, or the exact eye that is forming the

17         template, then it would be a very high response at the end of

18         the day.

19                    Here we've taken something that doesn't have an eye,

20         so it might have a middle response.        And we take all the

21         numbers from a patch right around that point, the same size

22         as our template.     This is just an array of numbers.       And then

23         we have the template, and we just multiply them.

24                    If we animate forward, we can illustrate

25         multiplication.     And this multiplication isn't any fancy,




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 1         like, matrix multiplication.       This is just normal

 2         multiplication.     I take every number in the array and

 3         multiply it, element by element.

 4                    So the upper left-hand number is simply the upper

 5         left-hand number -- sorry, the upper left-hand number on the

 6         right is simply the multiplication of the upper left-hand

 7         number on the left, times the upper left-hand number in the

 8         middle.    So for every pixel, we just do that little

 9         multiplication.     That is the first step.

10                    The second step is adding them up.       And if we

11         animate forward, we are averaging them equivalently.            That is

12         all there is to correlation.       And doing that at every pixel

13         in the image, that is what a correlation is.         Here we did it,

14         we got 126.

15                    If we can animate forward, that would form the

16         output.    That is the result of this test, this correlation

17         test.   That one pixel on the image, it's kind of a middle

18         number.    It's between 0 and 255, so it's gray here.        We would

19         do that for the whole image.       And this is all illustrative.

20         This is -- you know, yeah, this is an illustration I'm

21         showing you.

22                    If we do this for the entire image, we can now see

23         an actual correlation image produced.        We animate forward.

24         And as I said, it doesn't look perfect.        I mean, I

25         wouldn't -- you wouldn't get a great grade in a computer




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 1         vision class today for offering correlation as an image,

 2         because it doesn't work that well.       But it's actually one of

 3         the oldest and most famous algorithms in the field.          So

 4         everyone who takes a digital image processing class would

 5         certainly know it.

 6                    So that's the process of correlation.       You take a

 7         template, which is just a set of numbers, you take a portion

 8         of an image, another set of numbers, multiply them together,

 9         average them up, that gives you a new number.         That is the

10         output of one pixel of a correlation image.

11                    MR. GALLEGOS:    Can we take the slide down, please?

12                    Your Honor, I move JTX2085 and JTX1909 into

13         evidence.

14                    THE COURT:   It will be received.

15                    (Thereupon, Exhibit Numbers JTX2085 and JTX1909 were

16         received in evidence.)

17           Q. Let's start by putting up JTX2085.       Dr. Darrell, what is

18         this document?

19           A. This is a paper by Roberto Cipolla and Kin Yow, from the

20         University of Cambridge, called "Towards an Automatic Human

21         Face Localization System."

22           Q. And what do you --

23           A. I believe this was published in 1995.

24           Q. I apologize for speaking over you, Dr. Darrell.

25                    MR. GALLEGOS:    Let's please put up JTX1909.




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 1           Q. What is this document?

 2           A. A similar document by the same author.       This one was

 3         published in 1998, and this is the full thesis version of the

 4         work that the student did with their advisor, Roberto

 5         Cipolla.

 6                    MR. GALLEGOS:    Please display slide DDX2.17.

 7           Q. Dr. Darrell, what is the result of a correlation?

 8           A. A correlation image, I just showed that to you in my

 9         demonstrative.     Now I wanted to show you an actual example of

10         a correlation image from the 1990s, and another slide from

11         the 1970s.    And here is an actual template that was used in

12         one paper in 1995, and here is the actual input image, shown

13         in green.    I think that is the actual author of the paper.

14         Even I have papers where, sadly, I have my own face in the

15         paper.     Then you see how young you were when you go back and

16         look at your old papers.

17                    So the input image is the green one, a frontal view

18         and a side view, two separate images.        The template is on the

19         left.    The result of that correlation operation, taking every

20         region, multiplying them together, averaging it, that is the

21         value on the right.     It may be hard to interpret at first,

22         but you can see it's sort of bright where their eyebrows and

23         mouths, or where there are these elongated structures.

24                    And so that is what the technique of correlation is

25         and how it was used in the '90s and, as we'll see, in the




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 1         '70s.

 2                     MR. GALLEGOS:   Your Honor, I move JTX205 [sic],

 3         pages 2 and 3, and JTX1909, pages 48 and 49, into evidence.

 4                     THE COURT:   They will be received.

 5                     (Thereupon, Exhibit Numbers JTX2085, pages 2-3 and

 6         JTX1909, pages 48-49 were received in evidence.)

 7                     MR. GALLEGOS:   And, Your Honor, at this time I also

 8         move JTX1834 into evidence.

 9                     THE COURT:   It will be received.

10                     (Thereupon, Exhibit Number JTX1834 was received in

11         evidence.)

12                     MR. GALLEGOS:   And, Your Honor, I may have misspoken

13         before.     I was trying to move JTX2085, pages 2 and 3 into

14         evidence.

15                     THE COURT:   Okay.

16                     THE CLERK:   I'm sorry, the last one was 1834?

17                     MR. GALLEGOS:   The most recent one, then, is JTX1834

18         into evidence.

19                     And if we could -- so, I'm sorry, Your Honor, did

20         we -- are we allowed to publish JTX1834?

21                     THE COURT:   Yes, they will be accepted.     I wanted to

22         make sure the clerk had the numbers.

23                     MR. GALLEGOS:   Thank you, Your Honor.

24           Q. Dr. Darrell, do you recognize JTX1834?

25           A. Yes.    It's a textbook titled Digital Image Processing, by




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 1         Gonzalez and Woods.

 2           Q. How old is this text?

 3           A. I think that was a 1991 textbook.

 4                    MR. GALLEGOS:    Your Honor, I also move JTX1779 into

 5         evidence.

 6                    THE COURT:   It will be received.

 7                    (Thereupon, Exhibit Number JTX1779 was received in

 8         evidence.)

 9                    MR. GALLEGOS:    Can we put that up?

10           Q. Do you recognize this exhibit, Dr. Darrell?

11           A. Yeah.    This is a paper that I wrote when I was a graduate

12         student at MIT.     And it was on correlation and interpolation

13         networks for realtime face expression analysis and synthesis.

14                    What we did is used correlation to track a person's

15         face.   We had a camera -- we had, like, a big PC, we had a

16         camera.      The camera would look at my face, and I could move

17         my face.     Like, I changed my mouth position or my eye

18         position, and a little computer graphics character, a little

19         graphics face would follow me in realtime.

20                    It was one of the very first realtime live animation

21         systems where you could move your face and then some

22         character would move.      Now you can do this on your phone,

23         on -- tons of web apps do the same thing, where they put,

24         like, ears on you or draw a cat face on your face.          I think

25         the work we did, and others were doing similar work at the




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 1         time, was the first to really show that back in the '90s.

 2                    And you could do that with a kind of correlation.

 3         Not exactly the same thing that we are talking about today,

 4         but a different use of correlation.

 5                    MR. GALLEGOS:    Please display DDX2.19.

 6           Q. What is shown to the right, or in the right panel of this

 7         slide?

 8           A. So on the right panel is a page from the textbook.           I

 9         must have misspoken.       I said it was 1991.   I see here it was

10         1992.    And this is a page from the textbook showing an

11         earlier historical example of correlation.         I believe the

12         date of the reference inside the textbook for this particular

13         figure is 1971.

14                    So again, correlation, as we are looking at it at

15         this level of simplicity, is at least 1970 or before.          And

16         again, you see these -- the same kind of processing.          A

17         correlation -- an input image in A, with the three letters in

18         there, a single -- a small template image, which is like an M

19         with a cross on it, and an output -- the correlation image,

20         showing that if you do that, multiply all the pixels and add

21         them up, you get a big bright spot where that target is.

22                    So that was used for manufacturing inspection and

23         things like that, to try to look at a board or maybe an

24         article of manufacture and see if there is a flaw or if the

25         things aren't exactly where they should be.         That was the




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 1         kind of application back in the '70s.

 2           Q. And, Dr. Darrell, just to be clear, the panel on the left

 3         is from the first page of your paper that you just described

 4         for us; is that correct?

 5           A. Yes.    And in that paper, we showed correlation functions

 6         and analysis.

 7                     MR. GALLEGOS:   I move JTX1834, pages 1 and 12, into

 8         evidence.

 9                     THE COURT:   They will be received.

10                     (Thereupon, Exhibit Number JTX1834, pages 1 and 12

11         was received in evidence.)

12                     MR. GALLEGOS:   And JTX1779, page 1, into evidence.

13                     THE COURT:   It will be received.

14                     (Thereupon, Exhibit Number JTX1779, page 1 was

15         received in evidence.)

16           Q. So Dr. Darrell, what is prefiltering?

17           A. Prefiltering, as it's been discussed in this patent, is

18         the very simple idea of, if you look at an image and you are

19         trying to detect a face, can you prefilter out regions that

20         you can skip.

21                     In this example, you don't really need to spend too

22         much time looking at the part of the image that is blank, or

23         at least uniform shade of blue, to try and find a face.          So

24         can we have a fast, cheap thing that skips a lot of the

25         processing so that we can take our expensive, known face




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 1         detector -- because face detectors already existed as of

 2         1999, some very, very good ones that worked quite well, but

 3         they were just too slow.

 4                    So can you quickly decide how to not process certain

 5         parts of the image?     That is prefiltering.

 6                    MR. GALLEGOS:    Your Honor, I move JTX1835 into

 7         evidence.

 8                    THE COURT:   It will be received.

 9                    (Thereupon, Exhibit Number JTX1835 was received in

10         evidence.)

11                    MR. GALLEGOS:    Can we put up DDX2.21?

12           Q. So again, Dr. Darrell, was prefiltering known before

13         1999?

14           A. It was.   One of those existing face detectors that worked

15         quite well, but wasn't fast enough to run on a consumer-grade

16         camera, perhaps, was a paper by Rowley and Kanade.          This was

17         referenced in the patent.      The whole patent is written

18         saying, "There is this great paper by Rowley and Kanade.             We

19         can figure out a faster way to prefilter in front of Rowley

20         and Kanade."

21                    And Rowley and Kanade, itself, offered a

22         prefiltering method.       They offered the idea that, "Well, we

23         have a big version of our network, and we have a small

24         version of our network.       And we can run a small version of

25         our network first to figure out which locations are probably




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 1         not going to have any face at all, and then use the big

 2         version of our network to, like, do a little more work to

 3         verify the places that might have it."        So that is exactly

 4         prefiltering.

 5                    What the '163 patent offers, as we'll get into in a

 6         few slides, and as I think we've already seen in previous

 7         testimony, is a specific kind of prefiltering, a specific

 8         kind of prefiltering that has a first linear step and a

 9         second nonlinear step.      But the general idea of prefiltering,

10         or the general idea of some cascade -- don't get confused.

11         That was already well understood in the prior art.

12                    And it also is probably just obvious.       If you have a

13         method, it's also obvious to one of ordinary skill in the art

14         that you could take a simple version of that method and run

15         it quickly, and then take a more expensive version of that

16         method and follow up places that the method -- the quick

17         version showed promise.

18                    MR. GALLEGOS:    Your Honor, I move JTX1834 [sic],

19         pages 1 and 13, into evidence.

20                    THE COURT:   It will be received.

21                    (Thereupon, Exhibit Number JTX1835, pages 1 and 13

22         was received in evidence.)

23           Q. Dr. Darrell, let's turn to the '163 patent.

24                    MR. GALLEGOS:    And if we could put up DDX2.25.

25           Q. When was the application for the '163 patent filed?




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 1           A. January 11, 1999.

 2                    MR. GALLEGOS:    And, Your Honor, I apologize, I might

 3         have done it again.      Previously, I meant to move into

 4         evidence JTX1835, pages 1 and 13.

 5                    If I may, Your Honor?

 6                    THE COURT:   Yes.

 7           Q. So I apologize, Dr. Darrell.      When was the application

 8         for the '163 patent filed?

 9           A. January 11, 1999.

10                    MR. GALLEGOS:    Please display DDX2.24.

11           Q. Does the '163 patent describe a new idea?

12           A. No, it does not.      There were lots of prior work -- prior

13         art works that had the specific kind of two-stage filtering

14         that I mentioned.

15                    The general idea of prefiltering wasn't new.        That

16         was in Rowley and Kanade.       But specifically all of the art

17         that is described -- shown on this demonstrative predates the

18         '163 patent, and in particular, the papers that we are going

19         to discuss in more detail from Yow and Cipolla.

20                    MR. GALLEGOS:    Let's put up DDX2.26.

21           Q. What is the problem addressed by the '163 patent?

22           A. As we've discussed, it's this idea of prefiltering.

23         There were face detectors that existed, but they took seconds

24         to minutes to run on a larger image.        You wouldn't deploy

25         that on a consumer product in 1999.        And so the question is,




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 1         was there some engineering scheme that could have a very

 2         fast, cheap method that would get you a better operating

 3         point in terms of -- in comparison to running the full method

 4         over the whole image.

 5                    MR. GALLEGOS:    Please display DDX2.27.

 6           Q. How does the '163 patent address this problem?

 7           A. It proposes a prefiltering scheme, and it proposes --

 8         it's illustrated in the figure 1 from the patent.         And it

 9         calls it the candidate selector in this figure 1.         I've

10         highlighted that in orangey yellow color.

11                    And importantly, it very explicitly says this is a

12         prefiltering step in front of the face -- the real face

13         detector.    That is what is colored in green here.       And I

14         think it's an important thing to understand in terms of how

15         the authors present the '163 patent.        If you actually read

16         it, just read the introduction of it, you can see it's how

17         they present it.

18                    The face detector already exists.      It's something

19         that comes off the shelf, as it were.        It was someone else's

20         work.   And you could take the face detector and just run it

21         on the whole image, and it would work.        It would just be too

22         slow.   And you can confirm that in figure 1, by that line

23         that is highlighted in gray.       There is a line from image

24         memory to the face detector.

25                    So it's important that the face detector can run on




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 1         the image itself.     The face detector isn't just the second

 2         half of some fancy algorithm.        It's, itself, something that

 3         can run on an image and detect faces.        But the invention here

 4         is a cool new prefilter that says, "Where should you look?"

 5         All right?     So the only thing the candidate selector does is

 6         tell the face detector where not to look.        The face detector

 7         still looks at the raw pixels to make decisions.

 8           Q. Can you explain in more detail the prefiltering performed

 9         by the candidate selector in the '163 patent?

10           A. Yes.    I think I can animate and go through a few

11         illustrations here.        Now, zooming into that candidate

12         selector, if we can animate forward, the key idea proposed by

13         the authors of this patent application was a particular kind

14         of prefilter.     Right?     Prefiltering was obvious, and already

15         existed in Rowley.

16                     So what the inventor offered was a specific kind of

17         prefilter.     And the specific kind of prefilter, as you've

18         heard already in testimony, has two stages:         A first stage

19         and a second stage.        And it's very clear that the first stage

20         is a linear filter, and the second stage is a nonlinear

21         filter.

22                     And the first stage is a linear correlator.       It does

23         correlation.     That is why I spent all that time trying to

24         explain correlation at the beginning of my presentation.             And

25         the second stage does grade scale contrast analysis.




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 1           Q. DDX2.30.   What does this slide show?

 2           A. So this slide is straight from the patent.        It's not the

 3         most appealing graphic that I can imagine.         I'm always amazed

 4         by how patents have graphics that look like this, instead of

 5         graphics that are easy to understand.        I'm going to try to

 6         walk you through it so you can see what is actually in the

 7         patent.    And I think I can animate this if we go forward.

 8                    It's showing the flow chart of the patent.        And on

 9         the right it's showing a notion that there is an image with

10         12 different blocks, and which blocks are being considered at

11         which stage.    So at the beginning the image comes in, and all

12         the blocks are considered, all the regions of the image are

13         considered.

14                    And if we animate forward, there is a second stage

15         that is characterized by the correlation and the finding of

16         local maxima in the correlation, and then the comparison of

17         those local maxima to a threshold that I find a really good

18         peak and that represents something I'm looking for.

19                    And those regions that pass that then go to a second

20         stage -- if we animate forward -- where the nonlinear

21         contrast analysis is performed.       And whichever pass through

22         that are then the final output of the candidate selector.

23         And the candidate selector communicates those locations to

24         the image detector, saying, "Okay, go run your expensive

25         method on those locations."




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 1                    MR. GALLEGOS:    Let's take the slide down, please.

 2                    Your Honor, I move JTX2 into evidence.       This is the

 3         prosecution history for the '163 patent.

 4                    THE COURT:   It will be received.

 5                    (Thereupon, Exhibit Number JTX2 was received in

 6         evidence.)

 7                    MR. GALLEGOS:    Please put up slide DDX2.34.

 8           Q. So, Dr. Darrell, let's discuss the '163 patent

 9         application history.       What happened after the applicant filed

10         for the '163 patent?

11           A. It was rejected.

12           Q. How many times?

13           A. Four times.    Every time the applicant applies for a

14         patent, the patent examiner -- who is the person in the

15         patent office who looks at the patent and, you know, responds

16         as to whether this is new or not, in light of what has

17         already been published -- rejected the patent four different

18         times, saying it wasn't new.

19                    Each time, the examiner -- I'm sorry, the applicant

20         would come back and try and change the patent somehow to get

21         it accepted another time.      Usually they would narrow the

22         scope of the claims that they are asking for, you know,

23         because eventually as this process evolves, they are supposed

24         to find something that is narrow enough so it isn't in the

25         prior art.    And then if that is approved, that is what they




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 1         get.

 2                    MR. GALLEGOS:    Okay.   Let's put up DDX2.35, please.

 3           Q. How did the applicant amend the claims to avoid the prior

 4         art noted by the examiner?

 5           A. Well, he specifically had to distinguish it from work

 6         that was done by someone named Baback Moghaddam.         This was

 7         art that was cited in the patent.        It was actually done in

 8         the same lab that I was a graduate student at MIT.           We shared

 9         the same graduate advisor, Moghaddam and myself.

10                    And Moghaddam had built one of the, at the time,

11         most famous face detection algorithms.        Not quite as -- it

12         was a precursor to the Rowley method.        It was called

13         eigenfaces back in the time.        It was well known by people and

14         by the examiner.     And the examiner told the applicant, "You

15         have to distinguish your art from this work of Moghaddam."

16                    And so to finally -- as part of the process of

17         getting the patent issued, the applicant said, "Look, there

18         is a big difference between what is going on in the Moghaddam

19         work.   Moghaddam's work actually just directly identifies

20         potential candidate regions.        What we do is we first drive a

21         correlation image, and that there is no correlation image in

22         Moghaddam, and that our correlation image precedes the

23         identification of potential candidate regions."

24                    So that argument, that driving a correlation image

25         necessarily precedes the step of identifying potential




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 1         candidate regions, was what they made to the examiner in

 2         order to get their patent issued.

 3                    MR. GALLEGOS:    I move into evidence JTX2, pages 74,

 4         173, 176, 218, and 340.

 5                    THE COURT:   They will be received.

 6                    (Thereupon, Exhibit Number JTX2, pages 74, 173, 176,

 7         218 and 340 were received in evidence.)

 8                    MR. GALLEGOS:    And can we now display slide DDX2.39.

 9           Q. What does this slide show, Dr. Darrell?

10           A. It shows the first page of the '163 patent and pictures

11         of all the cameras of Nikon that are being accused in this

12         case.

13                    MR. GALLEGOS:    Please display DDX2.40.

14           Q. What aspects of the Nikon cameras are accused of

15         infringement?

16           A. The face-priority auto focus, the feature that can

17         identify where a face is and then tell the lens to focus on

18         that face.    That is only in the live-view mode of DSLR

19         cameras, not when you are actually using the DSLR part of a

20         DSLR camera, and only in the face-priority auto focus mode.

21           Q. And are all the modes relevant to AF area?

22           A. No, only the face-priority auto focus.

23                    MR. GALLEGOS:    Please display DDX2.42.

24           Q. Who provides the accused functionalities that are

25         installed in the Nikon cameras?




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 1           A. A company called Omron, which I think we have heard of

 2         already.     They are one of the leading providers of face

 3         recognition technology, have been that way for 20 years, and

 4         still are.     I was at a conference last week and saw their

 5         trade show booth.

 6                     They provide their algorithms and designs and code

 7         to many different players in the industry.         I think they are

 8         probably almost an industry standard for a certain kind of

 9         embedded face detection.

10           Q. And what is shown in this table?

11           A. Yes.    And as you asked me to say what was shown in this

12         table, this is a table from Dr. Mundy's thesis -- excuse me,

13         not his thesis, Dr. Mundy's report, where he shows how he

14         broke down all of the source code that was received from

15         Omron relevant to this case and divided it into different

16         groups that corresponded to different sets of features and

17         products, all the different versions of the ideas that are

18         going on here.

19                     Two of them were on pet detection.      We are not

20         actually talking about pet detection during the trial, but

21         that was a prominent discussion in the reports that were

22         exchanged earlier in the case.

23           Q. And they are no longer accused in this case; is that

24         correct?

25           A. That's my understanding.




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 1                    MR. GALLEGOS:    Please put up DDX2.43.

 2           Q. And did Dr. Mundy say anything in his report regarding

 3         any similarities between the human and pet face detection

 4         products from Omron Corporation?

 5           A. He did.     And I believe he confirmed it earlier today,

 6         that he considers them, then, substantially the same, that

 7         they are remarkably similar across versions and

 8         implementations, with only very few minor differences in

 9         implementation details that are not material to understanding

10         the operation, and so on and so forth.

11           Q. Do you agree with Dr. Mundy that the human and pet face

12         detection from Omron have very similar functionality?

13           A. I do.

14                    MR. GALLEGOS:    Please display DDX2.65.

15           Q. Are you aware of how the Omron technique was developed?

16           A. Yeah.     The Omron technique was based on the Viola-Jones

17         technique.      Viola-Jones -- Viola and Jones wrote a paper

18         called "Rapid Object Detection Using a Boosted Cascade of

19         Simple Features" in 2001.

20                    Paul Viola was actually a professor at MIT when I

21         was a professor at MIT around 2000, and so we were very

22         familiar with this work when it came out.        He -- I think I

23         may have seen the first public presentation of it, actually,

24         at MIT around that time.      And it quickly became known as a

25         transformative advance in how fast face detection could work.




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 1                     Previously, it would take several seconds per image.

 2         Or even minutes, as I said.      And suddenly, they showed a demo

 3         on a laptop in 2000, where -- or 2001, where it was running

 4         at frame rate, like, 10, 20 frames per second, and it

 5         actually worked.     And it was very impressive.

 6                     The Omron Corporation published a series of papers,

 7         and, ultimately, products following that work, between, I

 8         think, 2001 and maybe 2005 or '6, where they made some nice

 9         little improvements to the method and figured out how to make

10         it even more fast and more efficient, and that serves as the

11         basis for their product.

12           Q. Dr. Darrell, is it fair to say that the Viola-Jones

13         method is considered a groundbreaking development in object

14         detection?

15           A. Yes.    I think it's probably the most famous paper in

16         computer vision in the 2000s.       You know, maybe between 2000

17         and 2015.     I think -- I looked it up before the trial.       I

18         think it's been cited 40,000 times, in all of its variants.

19                     Every computer vision class would have lectured it.

20         I had lectured the method.      I'm sure Dr. Mundy had lectured

21         the method, if he's given a course in computer vision.          So it

22         was very, very well known.

23                     MR. GALLEGOS:   Please display DDX2.44.

24           Q. Can you walk us through how the Omron face detection

25         works?




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 1           A. Sure.    The Omron face detection implements the

 2         Viola-Jones method, an extension of it.        And the idea is to

 3         scan through the image and find where in the image faces may

 4         exist.

 5                    So I think I'm controlling the animation now, if we

 6         can animate forward.     So we are going to look at regions in

 7         the image and try and find -- build an algorithm that can

 8         test the numbers in each image region and decide, is there a

 9         face there or not.

10                    If we can animate forward.     So there is a face here.

11         We like to have an algorithm analyze the numbers in this

12         26-by-26 region and conclude that there is a face here.          If

13         we animate forward, we'll see a nice green check on the face

14         and an X where there is no face.        If we can animate forward.

15         So the scanning window will scan over the whole image,

16         starting in the upper left.

17                    If we animate forward.     Hopefully it won't find a

18         face there.      And animate forward.    And it will keep going.

19         An important detail is it doesn't look at every single

20         position in the image.      The Omron code has what is called a

21         three-pixel stride.      So it actually -- it saves a little bit

22         of time by just skipping over three pixels and then trying

23         the next one.

24                    If we animate forward.     There is no face there

25         either.      And let's animate forward one more time.




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 1                    THE WITNESS:    Please animate forward.     And I was

 2         also going to animate one more time, I think.

 3           Q. Dr. Darrell, on 2.52, if I could pause you there.         Based

 4         on your review of the Omron code, how does the Omron

 5         technique decide if the image region behind the scanning

 6         window contains a face?

 7           A. Very good.    It applies the Viola-Jones concept.       Their

 8         core idea was to use a new thing, in 2001, called a cascade.

 9         And each of those image regions is passed through a cascade

10         of computation that decides whether or not there is a face in

11         this image.    And the idea is to have the early parts of the

12         cascade be very efficient, and the later parts of the cascade

13         to ultimately have more computation associated with them.

14                    This is all based on the Viola-Jones method.        And I

15         also confirmed this is how the code worked by reviewing the

16         code myself, and the citations for the code are shown on this

17         slide.

18                    MR. GALLEGOS:    Could we advance the slide?

19           A. Yeah, so each -- each window that we are going to look at

20         is going to be separately run through a cascade.         And this

21         will be done for every window in the image, skipping over

22         three pixels at a time.

23                    MR. GALLEGOS:    Please put up slide DDX2.53.

24           Q. Based on your review of the Omron code, what is the input

25         and output of a cascade?




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 1           A. Cascade takes, as input, the pixels from an image region,

 2         and it outputs the confidence.       Do I -- does the algorithm

 3         think that there is a face here or not?        And this is based on

 4         my review of the Omron code, as cited on this slide.

 5           Q. Yes.    And to be more precise, with regard to your

 6         discussion of your analysis of the Omron code in connection

 7         with DDX2.52 and this slide, DDX2.53, this is based on

 8         JTX1623, pages -- and I apologize, there is a series of them

 9         here -- 6, 7, 27 through 30, 16 -- I'm sorry, 1269 through

10         1272, 1280, 1281, 609, 610, 612, 621, 623, and 624.          Is that

11         correct?

12           A. It is correct.

13                     MR. GALLEGOS:   So please put up slide DDX2.54.

14           Q. And let's take a look at the first layer of the cascade,

15         layer zero.     How does this layer operate?

16           A. Now we are zooming in.     We started off with what happened

17         in each region.     Each region goes through a cascade of

18         layers.     Now we are going to zoom in even further.       Each

19         layer is a set of weak classifiers.

20                     And normally this would be an hour-long lecture in

21         computer vision.      So please, I hope I can make some of it

22         clear in this format.       This is not easy stuff, but I think we

23         can get through it.     And I think -- is it my turn to animate?

24           Q. Actually, let me ask you this question.        So is this based

25         on your review of the Omron code at JTX23, at page 353, 436,




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 1         1276, 1280, 1281, and 629 through 633, 638 to 639, and 642 to

 2         645?

 3           A. Yes.

 4           Q. Okay.

 5                     MR. GALLEGOS:   Please display slide 2.55.

 6           Q. And so let's take a closer look at the operation of a

 7         weak classifier.     What is being shown here?

 8           A. So we go from the region, through the cascade, to a

 9         layer, to a weak classifier.       And finally we are going to get

10         to some business here where we are actually going to touch a

11         pixel and get to the crux of the argument in the case.

12         Because inside the weak classifier of Viola-Jones and the

13         Omron code are tests of simple -- in this case, they are

14         called granules.

15                     A granule is just the average value of pixels in a

16         certain region.     And a weak -- I'll explain that more on the

17         next slide.     But here I just want to show that a weak

18         classifier has five of these tests.        Each test takes two

19         things and compares to see which is greater than or less

20         than, and you get a binary number, a zero or a one, out of

21         it.

22                     Then that is used to compute the confidence.       And

23         I'll talk more about that later.       And this is based on the

24         Omron code I reviewed that is cited on the bottom of the

25         slide.




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 1           Q. And to be clear, what is cited on this slide -- or what

 2         is shown on this slide is based on your review of the Omron

 3         code at JTX1623, pages 434 to 436, 1276 to 1278, and 1647 to

 4         1648, correct?

 5           A. Yes.

 6           Q. So let's go to slide DDX2.56.      And so what is a granule?

 7           A. A granule is just the average of the pixels inside a

 8         rectangle inside this region we are considering.

 9                     So we are considering a particular 26-by-26 region,

10         and we -- and a number of square or rectangular subregions

11         are considered to be granules, and the average pixel value

12         inside of them computed, and then tested with another

13         granule, using a less-than-or-equal-to operation, for

14         example.

15           Q. And so what is a granule comparison?

16           A. The test of whether one granule is greater than the

17         average pixel value inside of a granule is greater than or

18         less than the other one.      And the output is a binary number,

19         is zero or one.

20                     MR. GALLEGOS:   Please display DDX2.57.

21           Q. So what is a linear operation?

22           A. So I think this is the most important and interesting

23         part of the case.     This issue of what is linear and what is

24         not linear, and how do we make sense of that.         So it is late

25         in the day, but I'm going to try and take you through it and




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 1         then show you why the granule computation is nonlinear, that

 2         a binary function that is a less than or equal to is not a

 3         linear function.

 4                    But first I need to probably tell you what I think a

 5         linear function is.     I'm not sure if people have said that

 6         yet in the trial.     So forgive me if this is too plain, but I

 7         think it's important to go through it.        So a linear function

 8         is a function whose output is proportional to the input,

 9         which roughly means if I have a function and I double its

10         input, you would expect the function to double.

11                    So something that is linear is like bank interest.

12         If I deposit a hundred dollars in the bank, and I'm getting

13         5 percent simple interest, that is a linear function.           So if

14         I put a hundred dollars in the bank, I'll get $5 back.           If I

15         put $200 in the bank, I get $10 back.        And so on and so

16         forth.

17                    Here is a very simple function on the slide.        This

18         is just doubling the function F equals 2X.         If the input is

19         one, the output is two.      And if I double the input, the

20         output also doubles.     If I multiply the input by five, the

21         output also doubles.     That is -- that is what it means to

22         have the output be proportional to the input.

23                    Now, I would like to say that this issue of

24         quantization isn't really important.        That is not what makes

25         something linear or not linear.       I'm showing you integers




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 1         here, and I'm still claiming it's linear.        The fact that we

 2         might have a digital image representation that only

 3         represents integers and not floating-point numbers, or even

 4         that we might have something that only represents power, you

 5         know, multiples of 10 -- I have the famous oven that we are

 6         going to be talking about, of an oven that only has 10, 20,

 7         30, 40, 50 degrees or 200, 210, so on and so forth.          That

 8         doesn't make it linear or not linear.        I mean, it's still

 9         basically linear if you multiply something by two, and the

10         temperature goes from 200 to 400.       That is linear.

11                    I agree that it's okay that it jumps from 200 to 210

12         on its way to 400.     What is not linear is if I have something

13         where there is a hard threshold and I double my input and the

14         output doesn't change at all.       If I have an oven with a dial

15         and I turn the dial up and it, you know, goes 200, 210, 230,

16         and then it just stops at 250, and I keep turning the dial

17         up, I double the dial twice and it's got a hard threshold,

18         250, that is not linear.      That is like the definition of not

19         linear.

20                    I think I will have more on this, but we should go

21         to the next slide.

22                    MR. GALLEGOS:    Can we go to DDX2.58.

23           A. So this illustrates more about what I'm talking about

24         about linearity and not linearity.

25                    Now, on the left, I'm showing what in my opinion are




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 1         linear functions.     And I have put an equation on the slide.

 2         It's a very simple equation, and it is just capturing what I

 3         said in words before, that the output is proportional -- the

 4         output changes and proportion changes to the input.

 5                    So if I have some function F of X, and I multiply

 6         its input by some number A, I can exactly recreate that by

 7         just taking the original function and just multiplying the

 8         output by A.    All right?    So that is the definition of

 9         linearity.

10                    And if we plot functions as where the -- where we

11         are illustrating the output as the function of the input,

12         where in this case the vertical axis on the plot -- now we'll

13         see if my pointer works.      It would work if I turn it upside

14         down.   I have this fancy mouse pad here that I can try and

15         maneuver.

16                    So this axis here is showing the output of the

17         function.     And this axis here is showing the input of the

18         function.     And on this slide, I'm only showing you

19         one-dimensional functions because it's much easier to

20         understand.     Unfortunately, you are going to have to think

21         about two-dimensional functions to actually make a decision

22         on this case.

23                    And if I was going to show you a two-dimensional

24         function, as Dr. Mundy already has, I might show you this

25         axis as being one input variable and this axis as being the




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 1         other output variable.      But right now -- so you will get a

 2         different understanding after we go through that.          But bear

 3         with me right now.

 4                    I'm showing you the output of the function here and

 5         the input of the function here.       And so you would -- so this

 6         is -- linear functions look like lines when you are plotting

 7         the output as a function of the input.        Okay?     So if I take

 8         the input, and I get some value, and then I double the value,

 9         well, maybe I get some proportionate output.          Maybe this is a

10         linear function with slope 1.2.       All right?      This looks like

11         the linear function Y equals X.       So if I double the input, I

12         double the output.     Hopefully that is simple enough.

13                    Examples of things that are nonlinear is sort of

14         everything else in the world.       Functions that go up and down.

15         Functions that are jagged and go up and down.           And especially

16         functions that either go up and then stop or, even more

17         critically, a function that just is zero for a while and then

18         suddenly is one for a while.

19                    To me, this is like the classic definition of a

20         nonlinear function.     It's not proportionate to changes in the

21         input.     I can change my input all I want over here, nothing

22         changes.    I can change my input all over here, nothing

23         changes.    So it doesn't fit the definition of linear.

24                    MR. GALLEGOS:    Let's put up slide DDX2.59, please.

25           Q. So what happens if one applies a linear and then a




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 1         nonlinear operation on an input?

 2           A. A linear operation followed by a nonlinear operation is a

 3         nonlinear operation.     And we can see that if we animate

 4         further.    If we first have something which maybe

 5         multiplies -- it's a number by an input, but then we pass it

 6         through something that is a threshold, in general the output

 7         will still be nonlinear.      It will not satisfy the definition

 8         of linearity.

 9           Q. Let's go to DDX2.60.     Is there any way to apply different

10         operations and series to an input and obtain a linear result?

11           A. You can.   If you have multiple steps, and all of the

12         steps are linear, then it's a linear function.         And you can

13         animate this forward.

14                    In other words, if I have a function where I'm

15         adding together a bunch of elements and they are all linear,

16         then it's a linear function.       Or if I'm performing a number

17         of steps, and I first perform a linear step, and then perform

18         another linear step, then it's linear.

19                    But if I perform a series of steps to compute

20         something, and any one of them is nonlinear, then that

21         overall thing is nonlinear.      That is at the key of what we

22         are going to see is going on here, that the comparison

23         operation of less than or equal to, that is -- that is

24         definitely nonlinear.      That is a threshold.

25                    And it doesn't matter if I have done something




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 1         before that happened to be linear.       When I talk about doing

 2         something and then doing a threshold, that is a nonlinear

 3         computation.

 4                    MR. GALLEGOS:    Please go to DDX2.61.

 5           Q. So is the granule comparison applied by the Omron method

 6         a linear operation or not?

 7           A. It's a nonlinear operation.      I've just taken you through

 8         this detour of what I think is linear and what I think is

 9         nonlinear.     And hopefully you remember I was explaining how

10         the Omron code worked.      And we were looking at all those

11         image regions, and we now are all the way down in a granule

12         comparison.     And that is -- I think that is not in dispute,

13         that the first thing that is going on is a granule

14         comparison.

15                    And so the granule comparison is a comparison of two

16         numbers with a less-than-or-equal-to sign.         And the whole

17         question that I see right now is, is that linear or is it not

18         linear?    So I believe it's not linear.      Because if I look at

19         it -- if I look at is 100 less -- so this is a function.             The

20         inputs are the colored things, and the output is the black

21         thing.    So it's a function of A and B, and it returns a zero

22         or one.

23                    So if I test the function with 100, 200, well, 200

24         is greater than a hundred, so the answer is one.         And if we

25         animate forward.     And now if I try the function again, but




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 1         add a little bit to the 200, so that one of the arguments is

 2         larger and the difference between them is larger, the output

 3         doesn't change.     And now if I show a more extreme example by

 4         animating the rest of the slide, now I can even reduce the

 5         blue value to 20 and increase the red values to 250.

 6                    So whether you are considering it in terms of

 7         linearity of its arguments or the difference between the

 8         arguments, it's still not linear.        It doesn't meet the test

 9         of proportionality.

10           Q. So once again, Dr. Darrell, is the granule comparison

11         operation a linear process?

12           A. It is not a linear process.      It is nonlinear.

13                    MR. GALLEGOS:    So please display PDX444.

14           Q. I'm showing you a slide presented by Dr. Mundy.

15                    MR. GALLEGOS:    And let's highlight B minus A, minus

16         1.

17                    THE WITNESS:    That's the wrong one.     I can just do

18         it from here, if you want.

19                    MR. GALLEGOS:    Let's see.   Can we highlight B minus

20         A, minus 1, less than zero?      There we go.

21           Q. So this is a slide presented by Dr. Mundy.        Does this

22         show a linear function?

23           A. It's a nonlinear function.      It has that "less than" in

24         it.   It has several steps.     Irrespective of what is happening

25         in the first step, the first few steps of subtracting A from




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 1         B and then subtracting another one, the final step is that

 2         "less than" operator.      And that is a binary function.         It's

 3         very much a threshold.      So it's nonlinear.

 4           Q. And so can you elaborate?      How does this show a linear or

 5         nonlinear function?

 6           A. Well, it's nonlinear because it has the less than or

 7         equal to.

 8                    If we could highlight the bottom figure, the zero or

 9         one figure, I would like to speak to that, if I may.          My

10         highlighter is not working on my pad on this display.             Now

11         it's working.     Okay, great.   So we were just talking about

12         this equation here, which is nonlinear because of this step.

13         Because one of the steps is nonlinear, therefore this is

14         nonlinear.

15                    And this is what Dr. Mundy -- this is Dr. Mundy's

16         slide we are showing.      This is what Dr. Mundy says is the

17         coarse filtering.     And I would like to discuss this graphic

18         for a moment here, because it's -- because it actually makes

19         exactly the point I'm trying to make.

20                    Now I would like to show that this is a

21         two-dimensional function with two inputs, A and B.          The

22         vertical axis here is showing an input, not an output.             The

23         horizontal axis is showing an input.        The outputs are being

24         shown actually by the big numbers zero and one.         So it's sort

25         of like the output is coming off the screen.         I said it's




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 1         easier to look at one-dimensional functions than

 2         two-dimensional functions.

 3                    This is a two-dimensional function.       So there is a

 4         two dimension of input, and then the output would be the

 5         height off the TV.     And here the height is either zero or

 6         one.   So the function here looks at A and B and outputs

 7         either zero or one.     So there is a line between A and B, but

 8         the fact that there is a line there doesn't mean it's a

 9         linear function.     And that is subtle.     Just because there is

10         a line on the screen doesn't mean it's linear.

11                    Now, I want to discuss why it's not linear by coming

12         back to this principle of proportionality.         If I double the

13         input, I should double the output.        So let's look at this

14         function, and let's like imagine the value.         What do I get

15         out when I have A equals two, and B equals two?           So it looks

16         like A equals two is here.        And B equals two is there.     And

17         the function is B minus A, minus one, less than zero.           Right?

18         So the output is one.        Because A and B are equal.    So it's a

19         minus one, and it's less than zero, right?         Minus one is less

20         than zero.

21                    So what happens if I double A?      I can move over

22         here, I double A.     If I double A, does the output double?           It

23         doesn't.     It's still 1.     If I multiply it by, you know, 1.5,

24         does it change?     I can do all this, nothing changes.        I can

25         double both the inputs and nothing will change.           I'll move




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 1         along here.     I can take half of B, and nothing will change.

 2                    So, to me, it's a very good demonstration of the

 3         point that I'm trying to make, that I can find on Dr. Mundy's

 4         slide that this is a nonlinear function.        And the key, to me,

 5         is that there is this operation here, that that is what makes

 6         it nonlinear.

 7           Q. Thank you, Dr. Darrell.

 8                    MR. GALLEGOS:    Can we go to DDX2.64.

 9           Q. And let's go back to the weak classifier operation.         What

10         is shown here?

11           A. Again, we are looking at that weak classifier.         It had a

12         series of those tests in Dr. Mundy's slide.         B minus A, minus

13         one, less than zero.       That is what is going on here.     There

14         is actually five of those that happen in parallel.          You've

15         got five different zeros or ones, and that goes through

16         something called a lookup table.       The lookup table is also

17         nonlinear, in general.

18                    So there are nonlinearities riddled throughout this

19         story.

20                    MR. GALLEGOS:    Let's take the slide down.

21           Q. Now, Dr. Darrell, do you understand that the '163 patent

22         was originally owned by HP?

23           A. I do.

24           Q. And are you aware of HP suing anyone claiming that the

25         Viola-Jones method infringes the '163 patent?




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 1           A. No, I'm not.    And it would be valuable to do so, because

 2         Viola-Jones is sort of the standard technique for face

 3         detection that is used in, like, almost all imaging devices,

 4         iPhones, Android devices.      That is how the little face

 5         detector works, in practice, in consumer devices.

 6           Q. So if HP had anticipated or understood the '163 patent to

 7         cover the Viola-Jones algorithm, you would have expected them

 8         to actually sue, right?

 9                    MR. GLITZENSTEIN:    Objection, Your Honor.

10                    THE COURT:   Sustained.

11           Q. Let's now turn to the claim that plaintiffs contend is

12         infringed.

13                    THE COURT:   We are going to give you three days to

14         turn to that page, Counsel.

15                    It's 4:00, so we are going to break at this time,

16         ladies and gentlemen.      Remember the admonishment not to

17         discuss the case among yourselves, or with anybody else, or

18         form or express any opinions about the matter until it's

19         submitted to you and you retire to the jury room.

20                    Now you can come in Monday if you want at 8:30 but

21         we are not going to talk to you until 1:00.         As long as you

22         are here by 1:00, we'll start right at 1:00 on Monday, but

23         the morning will be free for you.       So if I say be here, we'll

24         start at 1:00, what time are you going to get in?         12:45.

25         Okay.   We'll get started right at 1:00 then.




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 1                    Have a pleasant weekend.

 2                    (Thereupon, the Court was in recess.)

 3                               *****      *****       *****

 4

 5          I certify that the foregoing is a correct transcript from the

 6          record of proceedings in the above-titled matter.

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10          ---------------------------

11

12          Amy C. Diaz, RPR, CRR                   December 8, 2018

13          S/   Amy Diaz

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15           CROSS-EXAMINATION                                          621

16           BY MR. GALLEGOS

17           Exhibit Number JTX2191                                     627

18           Exhibit Number JTX1659                                     634

19           REDIRECT-EXAMINATION                                       637

20           BY MR. MARCHESE

21           NAOKI KITAOKA                                              644

22           DIRECT EXAMINATION                                         645

23           BY MS. TERAGUCHI

24           CROSS-EXAMINATION                                          652

25           BY MR. GLITZENSTEIN




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 1           Exhibit Number JTX1426                                     654

 2           REDIRECT-EXAMINATION                                       656

 3           BY MS. TERAGUCHI

 4           Exhibit Number JTX2228, pages 31-32, Exhibit               658

 5           Number JTX2229, page 32, Exhibit Number JTX2230,

 6           page 44

 7           TREVOR JACKSON DARRELL                                     658

 8           DIRECT EXAMINATION                                         658

 9           BY MR. GALLEGOS

10           Exhibit Numbers JTX2085 and JTX1909                        669

11           Exhibit Numbers JTX2085, pages 2-3 and JTX1909,            671

12           pages 48-49

13           Exhibit Number JTX1834                                     671

14           Exhibit Number JTX1779                                     672

15           Exhibit Number JTX1834, pages 1 and 12                     674

16           Exhibit Number JTX1779, page 1                             674

17           Exhibit Number JTX1835                                     675

18           Exhibit Number JTX1835, pages 1 and 13                     676

19           Exhibit Number JTX2                                        681

20           Exhibit Number JTX2, pages 74, 173, 176, 218 and           683

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